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                EXHIBIT 1
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                                                                                                                                               2
                                Pages 1 - 105                                    APPEARANCES (CONTINUED):
                        UNITED STATES DISTRICT COURT                             For Plaintiffs:
                                                                                                       LAW OFFICES OF TESFAYE TSADIK
                       NORTHERN DISTRICT OF CALIFORNIA                                                 1736 Franklin Street 10th Floor
                                                                                                       Oakland, California 94612
               BEFORE THE HONORABLE VINCE CHHABRIA, JUDGE                                          BY: TESFAYE WOLDE TSADIK, ESQ.
     IN RE ROUNDUP PRODUCTS         )                                                                  LUNDY, LUNDY, SOILEAU AND SOUTH, LLP
     LIABILITY LITIGATION           ) Case No. 16-md-02741                                             501 Broad Street
     _______________________________)                                                                  Lake Charles, Louisiana 70601
                                      San Francisco, California                                    BY: HUNTER WILLIAM LUNDY, ESQ.
                                      Monday, October 29, 2018                                         NADINA ANN BEACH, ESQ.
                                                                                                       BRADY LAW GROUP
                          TRANSCRIPT OF PROCEEDINGS                                                    1015 Irwin Street
                                                                                                       San Rafael, California 94901
     APPEARANCES:                                                                                  BY: STEVEN J. BRADY, ESQ.
                                                                                                       STEVEN B. STEIN, ESQ.
     For Plaintiffs:
                              WEITZ & LUXENBERG, P.C.                                                  AUDET & PARTNERS, LLP
                              700 Broadway                                                             711 Van Ness Avenue, Suite 500
                              New York, New York 10003                                                 San Francisco, California 94102
                          BY: ROBIN L. GREENWALD, ESQ.                                             BY: MARK BURTON, ESQ.
                              ANDRUS ANDERSON LLP                                                      LOCKRIDGE GRINDAL NAUEN PLLP
                              7171 West Alaska Drive                                                   100 Washington Avenue S.
                              Lakewood, Colorado 80226                                                 Minneapolis, Minnesota 55401-2179
                          BY: AIMEE WAGSTAFF, ESQ.                                                 BY: YVONNE M. FLAHERTY, ESQ.
                              BAUM, HEDLUND, ARISTEI, & GOLDMAN, P.C.            For Defendant:
                              12100 Wilshire Boulevard, Suite 950                                      HOLLINGSWORTH LLP
                              Los Angeles, California 90025                                            1350 I Street, N.W.
                          BY: R. BRENT WISNER, ESQ.                                                    Washington, DC 20005
                              MICHAEL L. BAUM, ESQ.                                                BY: ERIC G. LASKER, ESQ.
                                                                                                       KIRBY T. GRIFFIS, ESQ.
                              THE MILLER FIRM LLC
                              108 Railroad Avenue                                                      ARNOLD & PORTER
                              Orange, Virginia 22960                                                   777 South Figueroa Street, 44th Floor
                          BY: BRIAN BRAKE, ESQ.                                                        Los Angeles, California 90017
                                                                                                   BY: PAMELA J. YATES, ESQ.

     (Appearances continued on next page)                                                              WILKINSON WALSH ESKOVITZ
                                                                                                       2001 M Street, NW, 10th Floor
                                                                                                       Washington, DC 20036
                                                                                                   BY: BRIAN L. STEKLOFF, ESQ.
     Reported By:      Katherine Powell Sullivan, CSR #5812, RPR, CRR
                       Official Reporter - U.S. District Court




                                                                        3                                                                      4
 1   Monday, October 29, 2018                   2:11 p.m.                    1   to make an appearance?
 2                          P-R-O-C-E-E-D-I-N-G-S                            2           MR. TSADIK: Yes. Good afternoon, Your Honor.
 3                                ---000---                                  3   Tesfaye Tsadik, spelled T-s-a-d-i-k, for plaintiff
 4           THE CLERK: Calling case number 16-md-2741, In re                4   G-e-b-e-y-e-h-o-u.
 5   Roundup Products Liability Litigation.                                  5           THE COURT: Could you pronounce it one more time.
 6        Counsel, please state your appearances for the record.             6   I've been wondering how to pronounce it.
 7           MS. GREENWALD: Robin Greenwald for the plaintiff.               7           MR. TSADIK: Gebeyehou.
 8           MS. WAGSTAFF: Good afternoon, Your Honor. Aimee                 8           THE COURT: Gebeyehou?
 9   Wagstaff for the plaintiffs. And if I may, I'd like to                  9           MR. TSADIK: Yes.
10   introduce you to my clients, Mr. and Mrs. Hardeman, who                10           THE COURT: Great. Thank you.
11   traveled down here from Santa Rosa.                                    11           MR. WISNER: Brent Wisner on behalf of plaintiffs,
12           MR. HARDEMAN: Nice to meet you.                                12   Your Honor .
13           MS. WAGSTAFF: They've read all your orders. And I              13           THE COURT: Hello.
14   thought I'd come introduce you to them.                                14           MR. LASKER: Good afternoon, Your Honor. Eric Lasker
15           THE COURT: Welcome.                                            15   on behalf of Monsanto.
16           MR. BRAKE: Good afternoon, Your Honor. My nine is              16           MR. GRIFFIS: Kirby Griffis on behalf of Monsanto.
17   Brian Brake. I'm here with the Miller Firm. Pleasure to meet           17           MR. STELKOFF: Good afternoon, Your Honor. Brian
18   you. Thank you.                                                        18   Stekloff, from Wilkinson Walsh, on behalf of Monsanto.
19           MS. FLAHERTY: Good afternoon, Your Honor. Yvonne               19           MS. YATES: Good afternoon, Your Honor. Pamela Yates,
20   Flaherty, from Lockridge.                                              20   from Arnold & Porter, on behalf of Monsanto.
21           MR. LUNDY: Good afternoon, Your Honor. Hunter Lundy,           21           THE COURT: Hello. I'm sorry that we came out late.
22   from Lundy, Lundy, Soileau and South for Plaintiffs.                   22   We just finished up a trial. We had a jury verdict in a civil
23           MR. BURTON: Good afternoon, Your Honor. Mark Burton            23   case, and we were in there talking to the jurors. Defense
24   for Audet Partners.                                                    24   verdict. That happens sometimes in San Francisco, actually.
25           THE COURT: Anybody else on the plaintiffs side want            25        So I have -- I have a list of things to talk about. And
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                                                                     5                                                                  6
 1   what I would suggest that I do is -- let me rattle off the list    1          MR. BRAKE: Yes, Chris and Elaine Stevick.
 2   of things, just topics to discuss, to make sure you don't have     2          THE COURT: Okay. The issue of filling out the fact
 3   anything to add to it before we dive in.                           3 sheet for -- I guess it would be Elaine Stevick?
 4        And I cannot guarantee you that this is in a good order or    4      (Inaudible response)
 5   the most sensible order in which we should discuss things. But     5          THE COURT: I'm sorry?
 6   the depos of the doctors, the discovery letter that you-all        6          MR. BRAKE: Her husband has the loss of consortium
 7   sent, is that resolved?                                            7 claim.
 8            MS. WAGSTAFF: It wasn't in the discovery letter, but      8          THE COURT: Oh, okay.
 9   in the CMC statement for Mr. Hardeman, that's been resolved.       9          MR. BRAKE: She has the actual claim. Thank you.
10            THE COURT: The deposition of -- yeah, I couldn't         10          THE COURT: And then the authorizations for
11   remember if it was discovery letter or the CMC. We're talking     11 plaintiff -- the plaintiff, whose name I've already forgotten
12   about the deposition of the doctors that were going to start      12 to pronounce, even though you told me how to pronounce it.
13   tomorrow?                                                         13          MR. TSADIK: Gebeyehou.
14            MS. WAGSTAFF: Yes. That's been resolved.                 14          THE COURT: Gebeyehou?
15            THE COURT: That's been resolved. Okay. So that's         15          MR. TSADIK: Yes.
16   good. Cross that off.                                             16          THE COURT: Okay. So the authorizations for
17        All right. One for one.                                      17 Gebeyehou.
18        The Bailey case, the case that there's -- there's this       18      We'll talk about how to handle -- I've got some thoughts
19   case that I think is a potential to include in Group 1, the       19 about how to handle the Group 2 plaintiffs and the issue of
20   Bailey case. I'll talk to you about that later.                   20 getting them into Group 1. I'll probably start with that,
21        There's the Wieland stipulation, the issue about Stevick?    21 actually.
22   Have I pronounced that correct?                                   22      The issue of jury selection that you-all raised.
23            MR. BRAKE: Yes, sir. I represent Stevick, is how you 23          The issue of when we're going to identify the first case
24   say it.                                                           24 of the bellwether group to go to trial.
25            THE COURT: Stevick?                                      25      The issue of adding general causation experts.


                                                                     7                                                                        8
 1        The briefing -- Daubert summary judgment briefing.              1        And even if it may be appropriate as a legal matter, I'm
 2        The defense fact sheet, whether there should be one and,        2   not sure yet whether I would be comfortable doing it --
 3   if so, what should be in it.                                         3   whether, as a matter of discretion, I would be comfortable
 4        Other -- other discovery that might be permissible for the      4   doing that.
 5   plaintiffs to take of Monsanto, and what the timeline should be      5        So where does that leave us? I mean, when we spoke
 6   for that.                                                            6   previously, I was talking about how I very much wanted to get
 7        That's -- that's what I have that -- those are the items        7   other cases into Group 1, right, to avoid the risk of these
 8   that I have for discussion today.                                    8   three cases, possibly four cases -- we'll talk about the Bailey
 9        Does anybody have anything else that I should be adding to      9   case in a second -- disappearing and then not having a trial.
10   that list?                                                          10        It might mean -- I guess what I want to do for now is just
11            MS. GREENWALD: I don't believe so, Your Honor.             11   press the pause button on that, not worry too much about that,
12            MR. LASKER: I don't believe so either, Your Honor.         12   focus more on the cases that could be bellwether trials, and
13            THE COURT: Okay. Maybe let me start with the issue         13   hope that -- well, I don't know if it's right to say that I
14   that we've been talking about for a few months, a couple months     14   hope that one of them goes, but aim for one of them -- one or
15   now, which is the issue of the Group 2 plaintiffs, and is there     15   more of them going to trial early next year on the dates that
16   any way to get any of the Group 2 plaintiffs into Group 1           16   we've discussed.
17   absent a Lexecon waiver from both sides.                            17        As for the -- what we have now identified as the Group 2
18        I think that, as a legal matter, that is something that        18   plaintiffs, the placement of these 80-some cases into Group 2
19   could probably be done. But I have given it some thought and        19   has now become somewhat artificial; right? Because,
20   I've decided that, at least at this time, I do not want to use      20   originally, they were placed in Group 2 because the thought was
21   that process that I floated with you-all earlier of sending --      21   they're the most likely to have enough of a nexus to the
22   sending cases back to the MDL panel, to get sent back to the        22   Northern District of California where we could undergo this
23   transferor court, with an idea that they may transfer those         23   process to get them tried here. Right?
24   cases back to me under 1404(a) for trial. I've decided that I       24        On the other hand, the fact that the delineation is
25   do not, at least at this time, want to utilize that process.        25   somewhat artificial, I'm not really sure it matters. We've set
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                                                                    9                                                                    10
 1   a schedule for these Group 2 cases, and you've got to pick a      1 objection -- as long as it works for our schedule and whatnot,
 2   certain group of cases to move along faster than others.          2 I would have no -- or at least I don't think I would have an
 3        So I'm happy to hear thoughts from anybody about whether     3 objection.
 4   we should engage in some sort of recategorization process, but    4      We'll see where we are at the time, but I don't think I
 5   my gut is that we may as well just keep the cases categorized     5 would have any objection to going to the Eastern District of
 6   the way they are categorized even though it may be a little bit   6 Missouri to try a case or two if that would help advance the
 7   artificial at this point.                                         7 ball. I even notice that one of the cases is in Hawaii.
 8        Without yet asking you for your views on that, I just want   8      (Laughter)
 9   to ask: Did it make sense what I just said?                       9         THE COURT: I'm sure everybody would prefer, however,
10            MS. GREENWALD: Yes.                                     10 to go to the Eastern District of Missouri. And there are --
11            THE COURT: Are you-all with me on what I have tried 11 many more of the cases are in the Eastern District of Missouri.
12   to articulate?                                                   12      So, anyway, that is -- that may be one way to advance the
13            MR. LASKER: I understand what you're saying.            13 ball on Group 2, but I think for the most part we should just
14            THE COURT: All right. That's not always the case        14 be focusing primarily on getting the Group 1 cases ready for
15   that people understand what I'm saying, so don't be shy about    15 trial.
16   saying that you don't.                                           16      So those are my -- Christine Shepherd is the name of the
17        Okay. So one possibility, with respect to these             17 plaintiff in Hawaii, by the way, in case anybody is curious.
18   plaintiffs who are in Group 2 -- I know that all the fact        18      Does anybody here represent Ms. Sheppard?
19   sheets have not been submitted on behalf of those plaintiffs,    19          MS. WAGSTAFF: I'm sure it's Mr. Miller.
20   but one thing that we may consider -- if we are unable to take   20          THE COURT: So, anyway, we can talk about all of that
21   any of the Group 1 cases to trial early next year, one thing we  21 later.
22   may consider is my going there and everybody going there.        22      So I think that may -- so that's what I wanted to tell you
23        In other words, a lot of these cases are in the Eastern     23 about how I want to approach Group 2.
24   District of -- a lot of these cases in Group 2 are in the        24      Now, does anybody have any comments or questions or issues
25   Eastern District of Missouri; right? So I would have no          25 specifically about that before we turn to the other issues?


                                                            11                                                                            12
 1          MR. LASKER: I don't think at this time, Your Honor,         1         Monsanto removed the case, and there was not a motion to
 2   no.                                                                2   remand. So I -- I think maybe that was -- I think maybe that
 3           MS. GREENWALD: Same for the plaintiffs, Your Honor.        3   issue was waived. I'm not sure. I may not be remembering
 4           THE COURT: Okay. So that, of course, may inform the        4   correctly.
 5   discussion we have about some of these other issues.               5            MS. WAGSTAFF: Your Honor, I believe the plaintiff is
 6        Now, this Bailey case that I'm referencing, I'm going to      6   from Nebraska.
 7   try to pull up the case number for you in case you need it.        7            MR. LASKER: Yes.
 8   Here we go.                                                        8            THE COURT: The plaintiff is from Nebraska.
 9        Well, I'm having a little bit of an iPad glitch and the       9            MS. WAGSTAFF: That's what I believe, yeah.
10   document is loading, so I don't have the case number in front     10            THE COURT: So there is diversity.
11   of me. But, anyway, the plaintiff is --                           11            MS. WAGSTAFF: That's my understanding.
12        Do you have the case number?                                 12            THE COURT: So that was filed here. Oh, I remember
13            MS. GREENWALD: I do. I can give it to you, Your          13   what it was. Now, I remember. It was that Monsanto did not
14   Honor. It's 3:18-cv-05827.                                        14   make a jurisdiction argument, and Monsanto at least has not yet
15           THE COURT: Can you give me that one more time?            15   made a venue argument as relates to that case. I'm not sure
16           MS. GREENWALD: Sure. I'm sorry. New York talking.         16   Monsanto has made a venue argument at all in its answer.
17   3:18-cv-05827.                                                    17            MR. LASKER: Right. I don't think the jurisdictional
18            THE COURT: This is a case, as I understand it, that      18   issue has been addressed yet either. We haven't waived either
19   was filed in state court, and the -- the defendants, who were     19   of those arguments. We don't know yet. All we have is the
20   named, were Monsanto as well as a distributor, a California       20   complaint. So we would need to --
21   distributor.                                                      21            THE COURT: Well, I think you answered. And so I
22        And so there was, I think -- I don't know -- I think the     22   think if you answered and you didn't include any sort of
23   plaintiff is from California, and I think, therefore, that        23   argument about jurisdiction -- personal jurisdiction, I assume
24   there may not be diversity. But it was removed to federal         24   it's waived, but I'm not up to date on the rules of waiver of
25   court.                                                            25   personal jurisdiction.
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                                                                     13                                                                  14
 1            MR. LASKER: I'm fairly certain we did not waive            1          MS. WAGSTAFF: Elise Sanguinetti.
 2   jurisdiction, because that would be a big issue in the case.        2          THE COURT: Okay. What I would propose we do is that
 3            THE COURT: Okay. Or maybe you determined that there        3 we set a schedule for that case. I mean, I guess she's not
 4   was jurisdiction, there was personal jurisdiction.                  4 here right now, so we maybe won't do it today, but what I would
 5        And then -- but, anyway, the long and the short of it is I     5 propose we do is we get that case ready to go to trial in May,
 6   don't think we need to get into the details right now               6 on May 5th.
 7   necessarily, but it seems like this Bailey case could become        7          MS. WAGSTAFF: Okay. So how about in two weeks,
 8   part of Group 1 if we -- or at least we could tee it up for         8 perhaps we could spend two weeks meeting and conferring with
 9   trial in May potentially.                                           9 Monsanto on what that would look like and submit something to
10            MS. WAGSTAFF: I spoke with the lead counsel, who          10 you?
11   filed that case, and just as a practical matter there's no real    11          THE COURT: Sure. That would be fine. Would it --
12   way they could catch up on the deadlines we're currently at.       12 would it make sense to have a CMC on that case specifically?
13   Meaning close of discovery is in a month, expert disclosures is    13         MS. WAGSTAFF: Sure.
14   in a month. And, like I said, there's still jurisdictional         14         THE COURT: And set it -- you know, set a schedule for
15   issues and things like that.                                       15 it and set it for trial in May?
16        We could perhaps talk about teeing it up in May. I'm not      16      I mean, it may be like if we get to late February and
17   sure what sort of objections Monsanto is going to have, but I      17 there are still more than one -- there's still more than one
18   know that she would be willing to sort of get that case going      18 plaintiff in the -- of the three plaintiffs who are currently
19   but certainly not the deadlines we have now.                       19 in Group 1, it may be that we set one of those cases for May.
20            THE COURT: Who is it?                                     20 But I think we should work on getting this case ready for May
21            MS. WAGSTAFF: Arias, Sanguinetti out of -- where are 21 also.
22   they? Oakland. Los Angeles.                                        22         MS. WAGSTAFF: The only thing I would say to bring to
23            THE COURT: What's the firm again? Sorry.                  23 the Court's attention is, in this chart that we created as
24            MS. WAGSTAFF: Arias, Sanguinetti, Wang & Torrijos.        24 Exhibit A to our filing, this is the fourth from the bottom.
25            THE COURT: Okay. And what's the name of the lawyer? 25                THE COURT: Okay. Wait hold on a quick second.


                                                                  15                                                                      16
 1            MS. WAGSTAFF: On the last page, page 4 of 4.              1   can be tried here.
 2            THE COURT: Hold on one second. Exhibit A?                 2            MS. WAGSTAFF: Right. Right. I just wanted to bring
 3            MS. WAGSTAFF: Yeah.                                       3   that to the Court's attention.
 4            THE COURT: Hold on. You said page 4?                      4            THE COURT: I mean, the Lexecon issue comes up when a
 5            MS. WAGSTAFF: Yeah. If you go to the fourth row from      5   case was filed in another district. This case was filed in
 6   the bottom is the case we're talking about.                        6   this district.
 7            THE COURT: Okay. Bailey.                                  7             MS. WAGSTAFF: Right.
 8            MS. WAGSTAFF: Yeah.                                       8             THE COURT: But that's for you-all to work out.
 9            THE COURT: Okay.                                          9        And so when should we have -- when should we have a
10            MS. WAGSTAFF: Now, I know it's a little different        10   further CMC? If it's only going to be about the Bailey case,
11   because they named Wilbur-Ellis, but they have put that they      11   we could, I suppose, potentially do it by phone, if that would
12   have no to every answer and then they put yes that they           12   be easier for you-all.
13   consented. So I don't know if Monsanto is not consenting. I       13            MS. GREENWALD: It would.
14   just don't know how that will all play out.                       14            MR. LASKER: It would, Your Honor. Thank you.
15        I guess that's something that Mr. Lasker and I will          15            THE COURT: When should we do that, Kristen? 21 days?
16   discuss over the next couple weeks.                               16   14 days?
17            THE COURT: But this case was brought -- the case was     17            THE CLERK: Want to do the 14th of November? In the
18   brought here. So --                                               18   morning? In the afternoon?
19            MS. WAGSTAFF: Right. I believe that's because they       19             THE COURT: I'd say we -- why don't we do the 15th?
20   named Wilbur-Ellis, which gives them the jurisdiction. But        20   Why don't we just put it on the law and motion calendar for the
21   there's otherwise no contact with it, what this chart shows me.   21   15th. We'll just do it by -- because even when we do a
22            THE COURT: Otherwise no what?                            22   telephonic case management conference in these cases, we do it
23            MS. WAGSTAFF: I think everything happened in             23   in open court because of the public interest involved.
24   Nebraska.                                                         24        So we'll just do it to kick off our law and motion
25            THE COURT: Okay. But it may still be that the case       25   calendar on the 15th.
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                                                                    17                                                                   18
 1         (The Court and courtroom deputy confer off the record.)      1          MR. TSADIK: Tsadik.
 2            THE COURT: Let's do Thursday, November 15, at             2          THE COURT: Tsadik. I'm sorry. Let's talk about your
 3   2:00 p.m., because actually we might end up moving some of the 3 case.
 4   other matters to 2:00 p.m. anyway.                                 4      So I think there are, Mr. Tsadik, there are two issues --
 5            MS. WAGSTAFF: Your Honor, are you wanting us to file      5 at least two issues for us to discuss regarding your case. If
 6   anything beforehand?                                               6 there are more, let me know.
 7            THE COURT: Yeah. Seven days prior, file a case            7          MR. TSADIK: Sure.
 8   management statement.                                              8          THE COURT: But one issue is -- is the issue of these
 9            MS. WAGSTAFF: Okay.                                       9 authorizations, right? And it's the signing of the
10            THE COURT: The main thing I want -- you can include 10 authorizations for -- to access employment records --
11   whatever aspects of the typical Northern District case            11          MR. TSADIK: Yes.
12   management statement that you want, exclude whatever you think 12             THE COURT: -- and workers' comp records.
13   needs to be excluded.                                             13          MR. TSADIK: Not really workers' compensation. It's
14         The main thing is I just want to know if we can -- I want   14 social security records.
15   a proposal -- a scheduling proposal for setting the case,         15          THE COURT: Social security.
16   getting the case trial ready by May 5th or whatever was the       16          MR. TSADIK: Yes. Social security.
17   date in May that we've identified as the trial date in this       17          THE COURT: Okay. I thought -- okay. So has your
18   case. Okay. So it's Bailey.                                       18 client signed the other authorizations?
19         Oh, there was a stipulation in this Wieland case that was   19          MR. TSADIK: They have signed all the authorizations
20   filed directly here, and you submitted a stip to -- to dismiss    20 that you ordered, and served them on the same day, October 4th.
21   it and allow it to be refiled in the Eastern District of          21 The question is, after a few days he represented to me that
22   Missouri and then have the panel consider whether it be           22 he's not interested in making a claim of wage loss, revenue
23   transferred here. That's fine. I will go ahead and grant that     23 loss.
24   stip.                                                             24      And then I notified the defendant, you know, that you
25         Okay. Let's talk about -- is it Mr. Tsadik?                 25 cannot have any access or disclosure of the personnel file


                                                                   19                                                                        20
 1   because there's no wages claim in this case. Nor would there        1   evaluation of his performance, and all those things. Really
 2   be a claim for disclosure of tax returns of Mr. Gebeyehou, and      2   has nothing to do with a claim here.
 3   as well as, also, the social security disability benefit,           3           THE COURT: I'm sorry, I haven't -- I haven't reviewed
 4   because he never received any social security disability            4   the responses that Mr. Gebeyehou has made to the fact sheet
 5   benefit.                                                            5   here. I don't know anything about the specific facts of
 6            THE COURT: Okay. So the issue is -- so he has              6   Mr. Gebeyehou's case yet.
 7   already signed the authorization for -- about workers' comp         7        What does he allege about his exposure? Was it a
 8   claims?                                                             8   work-related exposure?
 9            MR. TSADIK: Yes.                                           9           MR. TSADIK: He's exposed on his property, residence
10            THE COURT: He has.                                        10   in Oakland. And he was exposed from the period of '87 all the
11            MR. TSADIK: Yes.                                          11   way through 2014.
12            THE COURT: Okay. So we're just talking about the          12           THE COURT: Okay.
13   employment records authorization and the SSDI records              13           MR. TSADIK: Almost 25 years, 26 years. And he was
14   authorization and the tax records authorization?                   14   spraying Roundup at least every three months on his property,
15            MR. TSADIK: Yes.                                          15   one and a half gallon every year.
16            THE COURT: Is that right?                                 16           THE COURT: Okay.
17            MR. TSADIK: That's correct.                               17           MR. TSADIK: He provided those information in the fact
18            THE COURT: Okay. And so the -- so let me hear             18   sheet.
19   from -- and you take the position that he should not be            19           THE COURT: So he doesn't make any allegations that he
20   required to sign those authorizations simply because he's not      20   was exposed to glyphosate on the job --
21   making a lost wages claim.                                         21           MR. TSADIK: No.
22            MR. TSADIK: Exactly. And also, at the same time,          22           THE COURT: -- or anything? Okay.
23   those records really have no relevance to any claim or defense     23        So -- and you've filled out all the remaining parts of the
24   the defendant is making in this case. We contend that the          24   fact sheet, about his employment history and all that stuff?
25   employment file, you know, personnel file includes promotion,      25           MR. TSADIK: Yes.
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                                                                    21                                                                   22
 1           THE COURT: Okay.                                           1 big issue -- and these are why these records are provided, and
 2           MR. TSADIK: Yes.                                           2 we have some citations that Your Honor, I expect, has seen, why
 3           THE COURT: Okay. So in light of that, what's the           3 these types of authorizations are provided in these cases.
 4   point of having him sign the employment records authorization      4      It's specifically to be able to determine whether or not
 5   and the SSDI and the tax records authorization?                    5 there were workplace exposures that may give rise and may be
 6           MR. LASKER: Yes, Your Honor, we addressed this at the 6 relevant to the issues of medical causation.
 7   last case management conference.                                   7          THE COURT: Have you reviewed his -- Mr. Gebeyehou's
 8        The reason for those records has to do with potential         8 employment history? And do you have any reason to believe that
 9   alternative causes, potential exposures in the workplace. And      9 he might have had some exposures?
10   that was the basis for seeking those authorizations. We           10           MR. LASKER: We don't have -- and let me just -- I
11   actually addressed that back and forth.                           11 will say, as a general matter, there's no way to tell from the
12           THE COURT: Well, my recollection of our discussion -- 12 information we get from a plaintiff fact sheet. It's not going
13   and I will admit to you that I didn't go back and read the        13 to have that level of detail to allow us --
14   transcript or anything, but my recollection of that discussion    14           THE COURT: I don't agree. I mean, the fact sheet was
15   was that the primary purpose of getting the employment records 15 designed to give you, sort of, keys to signal when you needed
16   were -- was to explore whether there were any particular          16 to look more closely at somebody's employment activities to see
17   incidents of exposure or any particular instructions about, you   17 if there was another exposure there.
18   know, using safety precautions that may or may not have been      18      That was the whole -- that was the whole point of
19   used, things along those lines.                                   19 requiring such detail about people's employment history and
20        Not necessarily to look behind whether there were            20 whether -- and past exposures and all that stuff.
21   exposures to other substances on the job. I don't recall us       21           MR. LASKER: If I could have just a second, Your
22   contemplating that that was really the purpose of looking         22 Honor.
23   through the employment records.                                   23      Again, we had, if you'll recall, at our last case
24        Am I misremembering that?                                    24 management conference a discussion of some of the issues as to
25           MR. LASKER: I believe so, Your Honor. I mean, the         25 why we would want to be able to have further information from


                                                                    23                                                                     24
 1   the employers themselves as far as what exposures might be           1        In this case, I assume that Mr. Tsadik is not going to
 2   relevant.                                                            2   dispute that any employment records relating to exposure to
 3        I'm looking right now, though, at -- so all the -- what we      3   other substances at the job site or on the job would be
 4   know is that he worked at PG&E. And we know when he worked           4   relevant to this case.
 5   there. But, again, to be able to tell from that information --       5        You don't dispute that; right?
 6   we just know the name of a company -- that's not going to            6            MR. TSADIK: That's absolutely correct, Your Honor.
 7   provide us with any information that would be -- allow us to         7            THE COURT: So if they gave you a request for any
 8   determine -- and, frankly, the name of an employer may give --       8   documents, any employment-related documents, or they asked PG&E
 9   gives us some limited information, but doesn't provide us with       9   for any employment-related documents that bear on exposure to
10   a lot of information, frankly.                                      10   any substances at the workplace, you would support that
11        And that's why these authorizations. And courts have           11   request, yes?
12   upheld in MDLs, particularly Plaintiff's Fact Sheet, routine        12            MR. TSADIK: I would support, Your Honor. The only
13   authorizations that are provided in all these litigations,          13   problem is in this case what they are trying to get is the
14   because that allows us to find that information out.                14   entire personnel file.
15        So I do -- at least my recollection of our conversation,       15            THE COURT: Right. That's why I'm narrowing it. I'm
16   and certainly my understanding of other cases where we              16   trying to narrow it down now.
17   routinely get these authorizations, and courts have upheld the      17        So you're saying what you would support, you would support
18   right for a defendant to get these authorizations as part of a      18   them getting any employment records, any records from -- it's
19   PFS process, is exactly for that reason, to be able to find         19   PG&E or any other employer that would relate to exposure to any
20   out -- and, of course, if there's nothing in those employment       20   substances at the job site.
21   records that go to that issue, then it sort of ends there. But      21            MR. TSADIK: That's fine.
22   that is the purpose of providing these authorizations --            22            THE COURT: Agree?
23            THE COURT: In this case, I mean, obviously, you are        23            MR. TSADIK: Yes, I agree.
24   allowed to conduct discovery. You're allowed to take the            24            THE COURT: Okay. All right. So that seems like a
25   plaintiff's deposition. You can make document requests.             25   more efficient way to take care of it in this case.
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                                                                  25                                                                   26
 1        What else would you need?                                   1          MR. TSADIK: That's correct. Yes.
 2           MR. LASKER: Well, Your Honor, again, I don't know,       2          THE COURT: And there's no need to go through that
 3   depending on what his -- part of this also, of course, is        3 process.
 4   workers' comp or any illnesses that are in those records,        4          MR. TSADIK: Yes. I agree with you.
 5   anything along those lines. Those are going to be relevant as    5          THE COURT: Okay. So, all right. So we have
 6   well.                                                            6 agreement, now, that Mr. Gebeyehou is not going to oppose
 7           THE COURT: Well, he said he signed the authorization     7 Monsanto's acquisition of any employment-related records that
 8   for the workers' comp claims; right?                             8 relate to exposure to substances at the job site or in
 9           MR. TSADIK: Yes.                                         9 connection with work.
10           MR. LASKER: He has signed all of the authorizations, 10         So can you explain, again, to me what else you might need?
11   Your Honor. He has asked us, after signing the authorizations,  11          MR. LASKER: Well, again, depending on whether or not
12   not to actually proceed with getting those documents. And       12 any medical leave was taken during his employment, doesn't have
13   given his objection, we haven't done that.                      13 to be a workers' comp case, that also is going to potentially
14           THE COURT: But I thought -- okay. So which --           14 relate to his medical condition.
15   which -- I thought you were not taking issue with them          15          THE COURT: But he just said that he didn't file any
16   proceeding to get the workers' comp documents.                  16 workers' comp claims.
17        Am I wrong about that?                                     17          MR. LASKER: Right, but workers' comp is not
18           MR. TSADIK: You're not wrong. But the problem is he 18 necessarily the only medical condition that -- if he took a
19   has not taken any workers' -- his testimony here in the fact    19 leave of absence unrelated to an injury at the job, that still
20   sheet stated that he never received any workers' compensation   20 is medical --
21   benefits.                                                       21          THE COURT: Medical leave.
22           THE COURT: Yeah, right. So then in the cases where 22           Okay. Do you have any objection to Monsanto getting any
23   somebody says under penalty of perjury that they've never filed 23 documents from your client's employers regarding taking medical
24   any workers' comp claims, then they don't need to sign that     24 leave?
25   authorization form.                                             25          MR. TSADIK: As long as they're not related to any


                                                                    27                                                                     28
 1   medical leave for some entirely different reason. As long as         1   20 years or so back.
 2   they're for chemical exposure, that's fine.                          2            THE COURT: Okay. But is there any harm? I mean, it
 3            THE COURT: Well, that's fair enough, but in terms           3   may end up not being relevant, but is there any harm with -- is
 4   of -- and you're not asserting a lost wages claim --                 4   there any reason to object if we -- so one issue is employment
 5            MR. TSADIK: No.                                             5   records that relate to exposure. Another issue is employment
 6            THE COURT: -- so it wouldn't be relevant to that.           6   records relating to taking medical leave.
 7        But might that be relevant to -- I mean, I assume that          7        What's the big deal? It may end up they're not being
 8   other medical conditions might have correlation with                 8   relevant, and they can obviously be protected by a protective
 9   non-Hodgkin's lymphoma. And so, you know, I would think that         9   order; right? Their confidentiality can be protected.
10   if there were any -- if there were any -- and they may also         10        In the interest of advancing the ball here, what's the
11   have relevance to the extent to which your client is suffering      11   problem?
12   in a damages sense from non-Hodgkin's lymphoma as opposed to        12            MR. TSADIK: I will do that, Your Honor, if you
13   other conditions.                                                   13   insist. I mean, I will do that because the procedure should
14        So what would be the problem -- I mean, if this were a         14   usually be, is this information in the file relevant to this
15   regular case and there were no authorization forms involved and     15   issue they raise? There's no relevancy.
16   you just received a discovery request saying, "We want              16            THE COURT: I understand, but I'm just trying --
17   information about other health problems that you've had," I'm       17            MR. TSADIK: Number two, can they get it from other
18   guessing you probably wouldn't object to that in a different        18   source? They could get it from the employer.
19   context.                                                            19            THE COURT: I understand what you're saying, but I'm
20            MR. TSADIK: Your Honor, his medical condition              20   just trying to be efficient about it here. Trying to make it
21   manifested itself in 2012 and 2014.                                 21   easier for everybody.
22            THE COURT: Okay.                                           22        Okay. So employment records relating to exposure.
23            MR. TSADIK: And he retired from PG&E in 1996.              23   Employment records related to taking medical leave.
24            THE COURT: Okay.                                           24        Is there any other -- anything else, Mr. Lasker?
25            MR. TSADIK: So, I mean, they're really trying to get       25            MR. LASKER: I think it would just be -- and I don't
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                                                                     29                                                                   30
 1   want to -- because sometimes there is healthcare provided           1          MR. TSADIK: That will be fine.
 2   through the job. They have nurses come in. I would just say         2          THE COURT: Okay. Everyone is in agreement on that;
 3   anything related to medical care.                                   3 right?
 4            THE COURT: But they've already -- they're going to be      4          MR. LASKER: I understand.
 5   providing you that through the responses to the fact sheet and      5          THE COURT: Mr. Lasker?
 6   in any discovery you do specifically of the plaintiff.              6          MR. LASKER: I understand, Your Honor.
 7            MR. LASKER: Well, I mean, we have medical                  7          THE COURT: Okay. So that's that issue.
 8   authorizations from his healthcare provider. If they had a          8      And then so it will be up to Monsanto to get that, to seek
 9   nurse's clinic or something coming in, I don't know we would        9 that information from the employers.
10   get it that way.                                                   10      Now, let's -- since I have you, Mr. Tsadik, it is not --
11            THE COURT: We're not going to expand this to that.        11 it seems to me -- so the plaintiffs in the leadership group and
12        So, anything else?                                            12 defense counsel, I believe, are both suggesting -- correct me
13            MR. LASKER: No, Your Honor.                               13 if I'm wrong, forgive me if I'm wrong about this, but I think
14            THE COURT: Okay. So we now have an agreement on 14 both were suggesting that we ought to knock your case out of
15   that.                                                              15 the bellwether group.
16        The plaintiff will -- I assume that you'll be getting         16      And perhaps you have also taken the position that this
17   these records from the employer. You'll be seeking these           17 case should not be in the bellwether group. What is your --
18   records from the employer or can -- because he hasn't worked       18          MR. TSADIK: The only thing, Your Honor, I mean, I
19   there since 1997, you say; right?                                  19 know the plaintiff is part of the [unintelligible] committee.
20            MR. TSADIK: 1996, yeah.                                   20 I took his case, and I'm not part of this leadership group. I
21            THE COURT: So what we have now is an agreement on the 21 mean, there has been almost no discovery done, no part of it.
22   record that the plaintiff is going to consent, the plaintiff is    22      So I'm suggesting, you know, that the case be at least,
23   going to authorize Monsanto obtaining records from the             23 you know, be moved to May or something around that time so I
24   plaintiffs' employer that relate to exposure to any substances     24 can be up to snuff in time to help the leadership group in the
25   or taking any medical leave.                                       25 case.


                                                                    31                                                                       32
 1            THE COURT: Well, why can't you help the leadership          1             MR. TSADIK: I believe -- I don't remember, but it's
 2   group -- I mean, there are a lot of resources behind the             2   in my records. The name is given from case management judge,
 3   leadership group. Why can't you help them get the case ready         3   it was transferred to the trial judge.
 4   to be tried in -- on February 25th?                                  4            THE COURT: Okay. So what I'm going to ask you to do
 5            MR. TSADIK: That is because I am solo practitioner,         5   is file a letter with the name of the judge who's assigned to
 6   and the plaintiffs really wants me to be part of the case, but       6   the case --
 7   my schedule really doesn't allow me. I have a trial already          7            MR. TSADIK: Okay.
 8   set in Santa Cruz, which is continued second time, for sure          8            THE COURT: -- and the name of the case, and the case
 9   will go forward.                                                     9   number, and the contact information for the judge in Santa
10            THE COURT: Is that a criminal case?                        10   Cruz.
11            MR. TSADIK: It's a civil case.                             11             MR. TSADIK: Yes.
12            THE COURT: And what is the case about? What's the          12             THE COURT: In Santa Cruz; right?
13   subject matter?                                                     13             MR. TSADIK: Yes.
14            MR. TSADIK: It's a premises liability case, somebody       14             THE COURT: And we'll -- if it's a real problem for
15   who was injured at the property of a church.                        15   this case -- to go to trial for your case, your Roundup
16            THE COURT: Okay.                                           16   Monsanto case to go to trial in February, then maybe we'll tee
17            MR. TSADIK: So I represent them. And we're ready to        17   it up for May. But you should plan on this case,
18   go to trial in February. So that's --                               18   Mr. Gebeyehou's case --
19            THE COURT: Okay. And has that case been assigned to        19             MR. TSADIK: Yes.
20   a judge already for trial?                                          20             THE COURT: -- being in the group of cases that's
21            MR. TSADIK: Yes.                                           21   ready to be tried on February 25th.
22            THE COURT: It has.                                         22             MR. TSADIK: The only thing, Your Honor, is, also, I
23            MR. TSADIK: Yes, it has.                                   23   mean, the enormity of the material I have to review in this
24            THE COURT: Do you know the judge -- do you know who        24   case to be prepared for a trial, participate in the discovery,
25   the judge is who's going to try the case?                           25   expert discovery, I mean, that really will taken entirety of my
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                                                                    33                                                                  34
 1   practice into --                                                   1 Mr. Gebeyehou's case. Although I'll ask you to maybe stay up
 2            THE COURT: Well, there are a lot of lawyers here who      2 here for one more second while we discuss the issue of ordering
 3   have spent a lot of time on this issue, and they will be           3 the three or potentially four plaintiffs for trial.
 4   participating in the prosecution of the case as well. And so       4      Because I think it was the plaintiffs who suggested
 5   that will be -- it will be for you to determine which tasks to     5 that -- you said, well, we understand that we have to have all
 6   give to them and which tasks to keep yourself.                     6 three bellwether cases ready for trial, but we think it would
 7            MR. TSADIK: That's --                                     7 be a good idea to identify now the case that goes first so we
 8            THE COURT: Strikes me that you seem -- at first           8 can kind of focus a little bit more on that one. Is that the
 9   glance you seem like a very competent and effective lawyer,        9 gist of what you suggested?
10   well spoken. And I'm sure that you'll make it work.               10          MS. WAGSTAFF: Yes, Your Honor, that's exactly what we
11            MR. TSADIK: It really is going to be a big challenge.    11 suggested. And so I represent the Hardemans, who are here
12   I just don't want to compromise my personal relationship with     12 today.
13   my professional responsibility on this case. Really tough         13          THE COURT: And you suggested that the Hardeman case
14   balance to keep.                                                  14 go first.
15            THE COURT: I understand.                                 15          MS. WAGSTAFF: Correct. It's the oldest case in
16            MR. TSADIK: That's why I bring it to your attention.     16 your -- before your court. We actually -- the preemption order
17            THE COURT: So file that information on the case --       17 and other things came in that before the MDL.
18            MR. TSADIK: Sure.                                        18      He has a conflict that you've just heard. Mr. Stevick is
19            THE COURT: -- with the judge's name and everything. 19 represented by Mr. Miller. And their law firm also is lead
20   And, you know, for now plan on the case going to trial in         20 counsel on a case going to trial in February of 2019, in
21   February. But if it doesn't go -- if it doesn't go to trial in    21 St. Louis City.
22   February, plan on it going to trial in May.                       22          THE COURT: Let me cut you off there for a second.
23            MR. TSADIK: Sure. Thank you.                             23          MS. WAGSTAFF: Sure.
24            THE COURT: Okay. Is there anything -- now, I think       24          THE COURT: So you believe that the Hardeman case
25   that's probably almost everything that we need to discuss for     25 should go first.


                                                                  35                                                                       36
 1         You believe that one of the other two cases should go        1            THE COURT: Okay. But we set a schedule for
 2   first, your client should not go first.                            2   Mr. Gebeyehou's case; right? I mean, it's subject to this
 3            MR. TSADIK: That's correct.                               3   discovery cutoff; right?
 4            THE COURT: Which case do you believe, Mr. Lasker,         4            MR. LASKER: That's correct, Your Honor.
 5   should go first?                                                   5            THE COURT: And we set that schedule a while ago now;
 6            MR. LASKER: We are in the position of not knowing as      6   right?
 7   much about either of the cases. So, as we said in the case         7            MR. LASKER: Yes, Your Honor. And we have the
 8   management conference, or case management statement, we're just    8   Plaintiff Fact Sheets as of, I guess it was last week. And
 9   not in a position to say anything. We want discovery to go         9   then we had this issue that was raised by -- about whether the
10   forward in these cases.                                           10   Gebeyehou case would go forward. And that's, I think, in the
11            THE COURT: Remind me, when is the discovery cutoff as    11   last week, been the issue that we've been faced with.
12   it relates to the plaintiffs?                                     12            THE COURT: Okay. I guess what I would propose is
13            MS. WAGSTAFF: November 20th.                             13   that at some point we can figure out when the right time is,
14            THE COURT: November 20th?                                14   both of you make a filing proposing an order for the three or
15            MS. WAGSTAFF: Three weeks.                               15   possibly four cases.
16            THE COURT: All right. So what I would -- and then so     16         And you can -- you can make that filing. You can make it
17   are depositions scheduled and stuff?                              17   a separate filing. And I'll look at -- I'll look at them and
18            MR. LASKER: There have been depositions scheduled in     18   I'll decide which cases go first and which case is going to go
19   the Hardeman case. As you know, tomorrow we are in                19   second and which case is going to go third.
20   conversations with the plaintiffs from the Stevick case, and      20         So the only question now is, when should you file that and
21   some of those treaters, we've lined those up. We have not had     21   when should I decide it?
22   discussions, up to this point, on Mr. Gebeyehou's case.           22            MS. WAGSTAFF: So we filed that last week. So I don't
23            THE COURT: Okay.                                         23   know.
24            MR. LASKER: We're not -- we have not lined those up      24            THE COURT: Basically, you don't have anything more to
25   yet, as far as I know.                                            25   say on the topic, in other words?
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                                                                    37                                                                  38
 1            MS. WAGSTAFF: We certainly can, but we would stand on     1 something explaining which case you want first, second, and
 2   our papers as well.                                                2 third, and why?
 3           THE COURT: Okay.                                           3           MR. LASKER: Right. The simple answer would be
 4           MS. WAGSTAFF: We think that the discovery -- preMDL 4 November 22nd, but I don't know we need to wait that long.
 5   discovery for Mr. Hardeman is further along, for example. The      5 It's just going to depend on how quickly discovery goes in
 6   discovery we just served was the fifth set of written discovery    6 these cases.
 7   that we've served in that case. The treaters are set for           7           THE COURT: November 22nd is Thanksgiving.
 8   tomorrow and Wednesday. We have --                                 8           MR. LASKER: Whatever the deadline was, I'm sorry,
 9            THE COURT: You don't need to argue it now. I mean,        9 Your Honor.
10   I've read your reasons why you think the Hardemans' case should 10            MS. WAGSTAFF: 20th.
11   go first.                                                         11          MR. LASKER: November 20th for fact discovery. But we
12        But, Mr. Lasker, when can you file something with a          12 may be in a position earlier. What I'm trying to figure out,
13   proposal for which case should go first, second, and third, and   13 and I just don't have the information now to know this, is
14   possibly fourth?                                                  14 whether -- and it may be that we wouldn't have filed something
15            MR. LASKER: Right.                                       15 a week ahead of time. It may be that on November 15th we just
16            THE COURT: I think part of it is we want to sort out,    16 happen to be at a point that we can file something a day in
17   you know, Bailey, and we want to figure out if Bailey is going    17 advance or something.
18   to be part of this group. Although, as I said, you know, it       18           THE COURT: Well, why don't I ask you to file
19   probably makes the most sense to be setting Bailey for --         19 something -- I'm going to require you to file something by no
20   having a schedule for Bailey for May rather than February.        20 later than November 16th.
21        So Bailey is sort of part of this group, but I think it's    21           MR. LASKER: November 16th.
22   probably unrealistic to say that Bailey will go to trial in       22           THE COURT: Okay. And that's filing something on the
23   February.                                                         23 order in which the cases should be teed up for trial, the
24            MR. LASKER: Right.                                       24 Group 1 cases.
25            THE COURT: So, yeah, so when do you want to file         25       And then if the plaintiffs want to file any response to


                                                                    39                                                                        40
 1   that, they can file something by no later than November 19th,        1   claim.
 2   and you'll have your answer before Thanksgiving. Okay.               2        In either scenario there's always going to be a fact sheet
 3            MS. WAGSTAFF: Thank you, Your Honor.                        3   filled out by the plaintiff or by a representative of the
 4            MR. LASKER: That's fine, Your Honor.                        4   plaintiff -- by the person with NHL or a representative of the
 5            THE COURT: Not a particularly hard decision. Okay.          5   person with NHL, about the person with NHL and their exposure
 6            MR. TSADIK: Thank you, Your Honor.                          6   and their employment history and all that stuff; right?
 7            THE COURT: All right. Let's see. That's that.               7        So then this is only a question about whether the spouse
 8         Okay. Is it Stevick or --                                      8   who's asserting a loss of consortium should also be filling out
 9            MR. BRAKE: Stevick, Your Honor.                             9   the fact sleet and should also be signing the authorizations.
10            THE COURT: Stevick, I'm sorry.                             10   The answer to that question is no.
11            MR. BRAKE: Yes, sir.                                       11        I think that we may have had a passing assumption that
12            THE COURT: So in the Stevick case, this issue about        12   maybe that would happen, but it doesn't make any sense for it
13   filling out a fact sheet for loss of consortium, I don't think      13   to happen. If there's any specific discovery that needs to be
14   we need to discuss this much. It seems like there are two           14   done of a spouse that's asserting a loss of consortium claim,
15   issues or two types of cases; right?                                15   you can do more specific and sensible discovery directed at the
16         There's a type of case where there are two plaintiffs.        16   spouse asserting the loss of consortium claim.
17   One is the person who has NHL, and the other person is the          17        So neither the Stevick spouse -- Chris Stevick?
18   spouse who's asserting a loss of consortium claim. It seems         18            MR. BRAKE: Yes, sir, that's correct.
19   quite obvious to me that the -- in that type of case -- so          19            THE COURT: -- nor any other spouse who falls in this
20   that's one type of case.                                            20   category needs to fill out a separate Plaintiff's Fact Sheet.
21         And then the other type of case is the case where the         21            MR. BRAKE: Thank you, Your Honor. Brian Brake, for
22   person with NHL has passed away. And I guess the only -- I          22   the record.
23   mean, even in that case there would still be, presumably, the       23        There was a proposed order attached to the joint letter we
24   spouse who would be asserting a claim on behalf of the estate,      24   sent to the Court, which is --
25   right, and then might also be asserting a loss of consortium        25            THE COURT: Does it capture what I just said?
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                                                                    41                                                                   42
 1            MR. BRAKE: Not exactly, but it's pretty darn close.       1 they can continue, is these experts have continued to be
 2            THE COURT: Okay.                                          2 working as the litigation has gone forward. So we have experts
 3            MR. BRAKE: So you may want to look at that. Thank         3 who have expanded what they have looked at and, in many cases,
 4   you.                                                               4 been deposed on additional issues.
 5            THE COURT: All right. Somewhere in the case               5      If I could ask one of my colleagues to stand up about
 6   management statement you asked about the briefing -- the length 6 that.
 7   of briefs. That sounds fine. That's approved.                      7          THE COURT: Sure.
 8        Adding general causation experts, the answer to that          8          MR. LASKER: Thank you.
 9   question is basically no. You cannot add general causation         9          MR. STEKLOFF: Thank you, Your Honor. Brian Stekloff.
10   experts.                                                          10      I don't think there's much to add beyond what Mr. Lasker
11        If there is an emergency-type situation, if Loralei Mucci    11 said, other than it might come up in the context of
12   has a medical emergency or, you know, something like that, and 12 supplementing an expert's reliance list. For example, if
13   you want to seek permission to sub somebody in to provide, you 13 there's additional epidemiology or other scientific literature
14   know, substantially the same testimony, I will entertain it.      14 they wanted to rely upon.
15   I'm not saying I will grant it, but I will entertain it.          15      We would, of course, give the other side notice of that.
16        But the basic answer is, no, I don't think it's              16 I think that's different than adding a new general causation
17   appropriate, given everything we've been through already as a     17 expert and having --
18   team, to be adding general causation experts.                     18          THE COURT: Yeah, I was assuming -- I mean, if anybody
19            MR. LASKER: If I may, Your Honor?                        19 has any disagreement with this, you can let me know, but I was
20            THE COURT: Sure.                                         20 assuming, just by the nature of this topic, there would have to
21            MR. LASKER: There's a separate issue there, and I'd      21 be additional reliance on new materials, either materials that
22   like to invite either Brian to step up, or Pamela Yates to come   22 played a key role in the state court trial, that maybe didn't
23   up. They'll be trial counsel for the first case.                  23 play a key role in our Daubert hearings, or in something that
24            THE COURT: Sure.                                         24 is newly published, or something like that, and that experts
25            MR. LASKER: And the issue, just to tee it up, and        25 would supplement their disclosures.


                                                                    43                                                                   44
 1        You know, sort of mildly hopeful that not everybody's           1   Honor.
 2   deposition is going to be taken again and that most people's         2            THE COURT: You won't be saying that if I do it to
 3   depositions will not be taken again. But if there's a --             3   you.
 4   hopefully, you can all work it out if there's a good reason to       4       (Laughter)
 5   take -- you know, do a further deposition, you know, that's          5           MR. WISNER: I won't misstate the facts, Your Honor.
 6   potentially permissible.                                             6           THE COURT: One of the things I'm going to do is I'm
 7            MR. STEKLOFF: Thank you, Your Honor.                        7   going to read the transcript of closing arguments in the state
 8            THE COURT: Okay. Any disagreement from the                  8   court case in an effort to help set some ground rules about the
 9   plaintiffs?                                                          9   closing arguments in this case.
10            MS. GREENWALD: Not at all. Not at all, Your Honor.         10           MR. WISNER: If Your Honor would like, we can even get
11            THE COURT: Okay. Jury selection. There was some            11   you a video of it. It was videotaped.
12   discussion in the case management statement about jury              12           THE COURT: How long were they?
13   selection.                                                          13           MR. WISNER: I believe we had a cap of two hours each.
14        I see that Mr. Wisner has gotten up for that part of the       14   My original closing was an hour and a half followed by a 15-,
15   discussion.                                                         15   20-minute rebuttal.
16       (Laughter).                                                     16           THE COURT: Yes, why don't you get us the videotapes.
17           THE COURT: I also saw Mr. Wisner in the back of the         17   I'd appreciate that. And the transcripts. We probably don't
18   courtroom today watching closing arguments.                         18   have the transcripts right now, so why don't you submit the
19           MR. WISNER: Yes, Your Honor.                                19   transcripts as well.
20           THE COURT: Please don't try anything remotely like          20           MR. WISNER: Sure. I can even attach the PowerPoints
21   what the EEOC lawyer did in closing argument, because --            21   if you want to take a look.
22           MR. WISNER: Yeah.                                           22           THE COURT: Sure.
23           THE COURT: -- I will come down on you if you do.            23           MS. WAGSTAFF: Do you want to just do it right now?
24           MR. WISNER: Well, I mean, I think you telling the           24                          (Laughter)
25   jury that she misrepresented it twice was well done, Your           25            THE COURT: On the issue of jury selection, I mean, I
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                                                                    45                                                                  46
 1   will make a general comment, which is: Monsanto appears to         1          MR. WISNER: And we usually started at 10:00 because
 2   want to proceed with jury selection as if this is a death          2 we were arguing about stuff.
 3   penalty case. And we're not going to proceed with jury             3          THE COURT: That's not going to happen in this trial,
 4   selection as if this is a death penalty criminal case.             4 I assure you.
 5        What I would propose, subject to -- I mean, I'll see what     5          MR. WISNER: I'm very good with that, Your Honor. It
 6   you-all think of this, but normally in criminal -- normally, in    6 was usually not us raising stuff, for what it's worth.
 7   criminal cases I use a written questionnaire. And, normally,       7      So days, it stretched out about six weeks. And there was
 8   in civil cases I do not use a written questionnaire. The jury      8 even a week-long break after the jury was selected before we
 9   pool just comes and sits, and we all have a nice conversation,     9 actually started taking testimony.
10   and then we pick a jury.                                          10          THE COURT: So the six weeks includes the week of jury
11        In this case I was assuming that, at a minimum, we would     11 selection and the week-long break?
12   prequalify the jury for time availability; right? That we         12          MR. WISNER: No. If you do that, it's about seven
13   would send out a communication to prospective jurors in           13 weeks. Six weeks of jury selection and trial. There was a
14   advance, to make sure that they are available, you know, in the   14 break though during the July 4th break because we knew we'd
15   month of March for a trial.                                       15 have too many hardships for that; people's vacations and
16        Now, how long did the trial last in -- how long did the      16 whatnot.
17   Johnson trial last?                                               17          THE COURT: So a five-week-long trial, basically?
18            MR. WISNER: We have the hours and we have the days. 18               MR. WISNER: Yes, Your Honor. And that was much
19            THE COURT: Okay.                                         19 shorter, I think, than both sides anticipated.
20            MR. WISNER: So they were pretty short trial days. We     20      We didn't call quite a few witnesses that we were ready to
21   had basically an hour and a half lunch, ended at 4:30 sharp.      21 call, and defendants also did not call quite a few witnesses,
22            THE COURT: When did you start?                           22 expert witnesses.
23            MR. WISNER: 9:30.                                        23      I think part of it was that we had an agreement with the
24            THE COURT: So 9:30 to 4:30, with an hour and a half 24 jury, essentially, that we would have them out of there by
25   lunch.                                                            25 August 10th, so we were just sort of making it work. I don't


                                                                   47                                                                      48
 1   know if that will happen this time.                                 1   a month, or if we're going a month or longer or only a little
 2        If they modify experts, that simplifies things, I think.       2   bit less, we would want to consider having --
 3            THE COURT: How many experts total testified?               3        I think we'd probably have to have dark days, right,
 4            MR. WISNER: We had five. They had four.                    4   Kristen? We'd have to have Thursday be dark. Probably move
 5            MR. STEKLOFF: I'm relying on Mr. Wisner. I was             5   our case management conferences to Thursdays, as well, so we
 6   not --                                                              6   don't have them on Tuesday afternoon.
 7            MR. WISNER: Yeah, if I'm wrong, I'm sorry.                 7            MR. WISNER: I think it also helps, Your Honor, with
 8            MR. GRIFFIS: That sounds correct.                          8   jury hardships as well. They know there's a day they can go
 9            MR. WISNER: Mr. Griffis was there.                         9   back to work to answer emails or whatnot.
10            THE COURT: Okay. We will time qualify them. Our           10            THE COURT: Yeah. So, anyway, we can talk more about
11   trial days, as you probably know, we go from 8:30 to between       11   how long we anticipate the trial to be later on, but I was --
12   2:00 and 2:30, with a 45-minute lunch break. And we go -- we       12   as I was saying before I got sidetracked -- or before I
13   run things very efficiently. We start right at 8:30. We're         13   sidetracked myself, was that we -- you know, we should
14   always going between 2:00 and 2:30.                                14   definitely prequalify them for time availability.
15        And I was sort of envisioning a four-week trial on that       15        I would also be open to -- I have some concerns about it,
16   schedule. So I was sort of envisioning that we would be done       16   but I would be open to doing a questionnaire that they fill out
17   by, you know, the end of March.                                    17   in advance from home or -- or having them come in, you know,
18        We can have further discussions about that as we get          18   several weeks in advance and fill out the questionnaire.
19   closer. It's not necessary to decide that firmly right now.        19   That's another -- that's maybe better.
20   But --                                                             20        You're both nodding your heads to that. Somaybe we could
21            MR. WISNER: Is there a dark day as well, Your Honor,      21   prequalify people for availability, have them come in and fill
22   or no?                                                             22   out a questionnaire like a couple of weeks in advance. I'm
23            THE COURT: Well, that's a good question. In this          23   just thinking out loud here at this point. Okay.
24   trial that just ended today, we did not have a dark day last       24        And then decide how many people we want to have fill out
25   week. We went all five days. I would think, since we're going      25   the questionnaires, go through them, figure out who we can
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 1   disqualify.                                                        1 pick a jury. So those are my thoughts.
 2        But then, at that point, after we've gone through the         2      I'm happy to hear from either of you, get your reaction on
 3   questionnaires and figured out who should be disqualified, I       3 those thoughts.
 4   would propose to just have people in and do jury selection as      4          MR. STEKLOFF: If I may, Your Honor. We would like a
 5   we normally do jury selection, which is that I -- you know, for    5 questionnaire because we think there is a level of bias and
 6   whoever is the prospective juror who is in the courtroom, I ask    6 hostility toward Monsanto that is unique given this litigation,
 7   them to stand and -- or I don't know if we ask them to stand,      7 given the company, given the jurisdiction.
 8   actually, but we ask them to just answer a few questions about     8      I think the parties did see that in the Johnson
 9   themselves out loud so we can start to get a feel for them.        9 litigation. They had a questionnaire there and then had some
10        Speaking out loud, just like ten basic biographical          10 level of individual voir dire.
11   questions. Those are on my website. And then we go through.       11      I also think what's unique --
12   They ask questions, sometimes I interrupt and ask follow-up       12          THE COURT: I'd like to see at some point, doesn't
13   questions. And then -- and then I do some raise-your-hand         13 have to be anytime soon, but I would like to see the
14   questions usually. Maybe I wouldn't do it in this case because    14 questionnaire that was used in the state court trial.
15   we already have the benefit of the questionnaire.                 15      I would think we would keep it relatively simple and
16        Then I turn it over to the lawyers and let you do voir       16 short, I mean, that we could craft six or seven questions that
17   dire for a time, and that's it. It's not clear to me why we       17 we could ask them. But, anyway.
18   would need -- those are already very -- sort of extra             18          MR. STEKLOFF: I think our concern, beyond just having
19   procedures for jury selection in a civil case that we don't do    19 a questionnaire that might expose some hostility or biases in
20   in your typical civil case.                                       20 either direction, but maybe more likely toward Monsanto, is
21        I understand why we might need to, given who the defendant 21 that if you --
22   is and given the subject matter, but -- and that's fine, but      22          THE COURT: Oh, I think definitely towards Monsanto.
23   all this business of individually voir diring jurors, I           23          MR. STEKLOFF: If you proceed with group voir dire,
24   don't -- I would be -- I have a pretty strong reaction against    24 especially given the verdict and the amount of publicity that
25   that. Nor do I think that it will take longer than a day to       25 has occurred in the jurisdiction regarding the verdict, if a


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 1   juror starts to talk in the group -- in front of the group           1   everyone has a view on police officers that they come in with
 2   about the verdict or even about his or her hostility toward          2   naturally. And no one is going to tell something about a
 3   Monsanto, it can taint and pollute the entire venire.                3   police officer, the general profession, that someone hasn't
 4            THE COURT: Let me just stop you for a second.               4   thought of.
 5   Putting aside the verdict and just talking about hostility           5        I mean, they may talk about one incident that has made
 6   toward Monsanto, I mean, we pick juries every day in courtrooms      6   them particularly biased, for example, against police officers,
 7   across America where people express hostility toward the             7   or the opposite. They may be a spouse of a police officer
 8   police, in a criminal case where somebody's liberty is at            8   or -- and then have biases in favor that they would believe the
 9   stake.                                                               9   police officers. But it's just sort of a natural part of life.
10        We don't do individual voir dire just because somebody has     10            THE COURT: But I just did an employment
11   hostility towards the police. The hostility they have towards       11   discrimination case, and it was a case involving a transgender
12   the police might be rational, it might be irrational. It might      12   male. The plaintiff was a transgender male. We had a very
13   be based on personal experience, it might be based on what          13   nice, productive discussion in open court with the prospective
14   they're reading in the paper.                                       14   jurors about -- and some had very strong preconceived notion
15        None of that is ever thought, typically -- unless it's a       15   about -- notions about gender reassignment one way or the
16   death penalty case or something, none of that has ever been         16   other.
17   thought typically to require one-on-one questioning of              17        Most people didn't have any strong preconceived notions
18   prospective jurors.                                                 18   about it. People shared their opinions. Some people had
19        And so I understand this case is very important to you,        19   strong preconceived notions about employees taking advantage of
20   but every case is important to everybody who's involved in          20   their, you know, disadvantaged status to get more stuff from
21   trying it. And I don't see why this case should be different.       21   their employer. Others had strong feelings that employers
22            MR. STEKLOFF: I agree with the premise. I was an           22   systematically discriminate against disadvantaged groups.
23   assistant public defender for four years, so those people, I        23        I mean, what's the difference here?
24   wish that they -- they usually were excused by the government.      24            MR. STEKLOFF: I think the difference is that here
25        I think the difference is that people come in to court,        25   people -- there may be jurors who come in with -- I mean, we
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 1   would say misconceptions, but preconceived notions about            1 with people, I feel like sort of the gravity of that sort of
 2   Monsanto, about things like GMOs, about Roundup, and about          2 comes across better, potentially, than the process you're
 3   science or what they think is science.                              3 describing.
 4        There is a lot of false publicity or false information out     4          MR. STEKLOFF: I think there's a place for individual
 5   there about Monsanto. And then you could have --                    5 voir dire and group voir dire, but I think there are some
 6            THE COURT: No, no, sorry. Go ahead.                        6 things that could be so prejudicial that, by the very nature of
 7            MR. STEKLOFF: I was going to say then you could have 7 them coming out -- and I would put the Johnson verdict, the
 8   jurors providing, with a lot of emotion, misinformation to          8 post trial publicity about -- these are just -- just the
 9   other jurors about the company and about those --                   9 factual -- the facts; that jurors have written letters that
10            THE COURT: I understand your point, but I actually        10 people may have reviewed, jurors have been on the news.
11   wonder if this -- it might be more effective to deal with this     11 There's been a lot of publicity about the tentative ruling, a
12   problem that you are identifying by having regular open court      12 lot of publicity about the final ruling, and someone stating
13   jury selection, because, you know, I'm pretty good about           13 those things publicly, whether you -- and I understand that
14   cutting people off when they start going on a rant about           14 people --
15   something that is not relevant to, you know, the -- you know,      15         THE COURT: Anybody friends with Neil Young and Daryl
16   is not relevant to the trial and might be prejudicial to a         16 Hannah?
17   party.                                                             17         MR. WISNER: I am now. It's pretty cool, Your Honor.
18        And I'm pretty good about explaining to people that, you      18         MR. STEKLOFF: They may be here watching, Your Honor.
19   know, you have to -- the question is not whether your views are    19 And I think that someone talking about those types of events --
20   correct or not. Everybody has different views. People are          20 I mean the numbers, the dollars associated with the verdict,
21   right, people are wrong about stuff. But the issue is, can you     21 and I think some of the other scientific things, if it comes
22   put you aside any information you may believe is true, that        22 out before Your Honor can sort of explain that that's not part
23   you've learned previously, and decide the case on the evidence     23 of the trial and that's not relevant, can have such an impact
24   that comes in the four walls of this courtroom?                    24 on other jurors and can bias them toward -- I mean, they should
25        And by me saying that and having that group discussion        25 not know about the verdict or what happened in this other


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 1   trial.                                                                1   the details.
 2        And I -- and then I think there could be a balance where         2        If we know about who knows about it in the jury
 3   at least bringing some jurors up sidebar, if they expressed           3   questionnaire, and those people are not struck, for example,
 4   hostility in the questionnaire or raise their hand to one of          4   ahead of time, I think we would have to question them
 5   your yes-or-no-type questions, I think there's at least a             5   individually, not in front of the group, about what they know
 6   combination of things that can be done, both individually and         6   and whether they could be fair in light of what they know.
 7   through group voir dire, that --                                      7        If there are people who say that they don't know about it,
 8            THE COURT: Why couldn't I just --                            8   I'm not sure that that would be -- we would probably oppose an
 9            MR. STEKLOFF: -- federal courts and certainly state          9   instruction to tell them that there's other litigation because,
10   court.                                                               10   I mean, it depends which way it goes.
11            THE COURT: Why couldn't I just say, look, some of you       11        Often we deal with this issue in mass tort cases of not
12   may have heard about the prior litigation involving this issue.      12   trying to talk about the overall scope of the case and having
13   The prior litigation involving this issue is not relevant to         13   the jury focus on the single plaintiff and the single trial.
14   this case. It is not for your consideration.                         14            THE COURT: Okay. Do you want to briefly give me your
15        And, therefore -- first of all, we can ask them in the          15   view on this?
16   questionnaire whether they've heard about prior litigation           16            MR. WISNER: Yeah, Your Honor. I'll be very quick.
17   involving this issue, so we know who knows about it and who          17        Regarding the questionnaire, I don't think we have a
18   doesn't.                                                             18   problem with that principle whatsoever, as we stated in our
19        I actually have another question about that, that I'll get      19   papers. That was very effective in the Johnson case.
20   to in a second, but why can't I just say during jury selection,      20        We didn't need 500 jurors. We had 120. Twenty-seven of
21   you know, there has been prior litigation involving this issue       21   them were struck for cause because when you asked them, "Can
22   and that is not relevant and it should not be -- anything you        22   you be impartial towards Monsanto?" they said, "I couldn't."
23   know about, that should not be discussed in open court.              23            THE COURT: Are you saying that there were 120 jury
24            MR. STEKLOFF: Because -- well, if some -- I guess the       24   questionnaires?
25   concern is that if there are people -- I think it depends on         25            MR. WISNER: That's correct.
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 1             THE COURT: 120 people filled out their                 1 perfect.
 2   questionnaires, and you said 20-some people were struck on the   2      I guess what I'm trying to say is, I think that I sort
 3   basis of their questionnaire responses alone?                    3 of -- a rule set in stone that we're going to have a two-phase
 4             MR. WISNER: No. It was based on that with a            4 voir dire would be needless. Ferreting out the obvious biased
 5   combination of open-air questioning and a handful, probably      5 people, I think, can be done through a questionnaire.
 6   maybe 7 or 8, back chambers ones. And those ones were            6      And I actually think you're right about open air
 7   situations where they said on their questionnaire stuff like     7 questioning about these issues. I think it actually -- it
 8   Monsanto is evil, or, I gave a presentation about Monsanto's     8 actually gives Monsanto a chance to fix any misstatements made
 9   agricultural practices in college.                               9 by a juror or explore --
10             THE COURT: I would think that both sides would        10          THE COURT: Or it gives me a chance.
11   consent to those people being excused based on the              11          MR. WISNER: Yeah, that's correct.
12   questionnaire response. I would think that we wouldn't even     12          THE COURT: And I'll tell you again, I mean, you know,
13   drag them into the courtroom.                                   13 I'm not sure anyone is an expert on this topic. I've done the
14             MR. WISNER: Well, the first one, yes. Evil, right,    14 trials that I've done in the last five years. Every time, I go
15   that's clearly bias. If they gave a presentation, I think we    15 sit in my chambers with the jurors afterwards and I talk to
16   want to know what that presentation was about; right?           16 them.
17        If it was a presentation about the economics of the        17      And this jury today, all they talked about was how they --
18   agricultural industry, that might not be so bad. If it was a    18 you know, yeah, my own personal experience and bias starts to
19   presentation about Monsanto being evil, okay, that's another    19 creep in, and I had to tell myself not to allow that, and I did
20   conversation.                                                   20 a really good job at it, and we all did a really good job at
21        So I think that's where the --                             21 it, and we were all very careful to listen to your instructions
22            THE COURT: I suppose in your mind there would be no 22 that you told us over and over and over again that you've got
23   difference between those two things.                            23 to limit your consideration to the evidence that comes in in
24        (Laughter)                                                 24 the trial.
25             MR. WISNER: I try to eat organic, but I'm not         25          MR. WISNER: I agree, Your Honor. Actually, I have


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 1   picked a jury with Mr. Stekloff before for trial in Virginia,        1   particular issue, that, like, disqualifies them; right?
 2   which I lost. My first trial ever. And, you know, we picked a        2        So if somebody were to say -- as applied to this case, if
 3   jury in a morning. And that was a pharmaceutical case which          3   somebody were to say, you know, oh, yeah, I remember reading an
 4   had a bunch of biases.                                               4   article about how the World Health Organization thinks that
 5        There was actually a juror who was impaneled who had            5   glyphosate causes cancer and that the Environmental Protection
 6   previously represented the defendant 30 years prior, and I           6   Agency thinks that it doesn't -- let's just say as an
 7   couldn't get him off for cause.                                      7   example -- I mean, you know, it's not obvious to me that that
 8        So I think, you know, there's biases that go both ways,         8   person should be disqualified from being on the jury for the
 9   and you have to deal with that as part of trial work. So             9   reasons that I just articulated, that you -- you follow up and
10   that's our position.                                                10   you ask them, well, okay, you read that.
11        And, obviously, our last issue, the gag order didn't come      11        You know, there are things that are accurate in the news
12   up. We strongly oppose that.                                        12   and there are things that are inaccurate in the news. And, you
13            THE COURT: I'm not issuing any gag orders.                 13   know, you -- the point is, to have a fair trial, you need to be
14        But that relates to, sort of, a question I have for            14   able to put aside whatever sort of media coverage you've been
15   you-all about jury selection. And that is, I'm not sure I've        15   exposed to and consider the case based on the evidence that
16   really had a trial before where, you know, a significant            16   comes in.
17   portion of the jury pool is going to come -- you know, is going     17        Or even, potentially, there was another verdict in this
18   to potentially have read about the issue or potentially have        18   case, you know, and -- but anything you know about the prior
19   some familiarity with the issue through media exposure and the      19   verdict in this case, you should not give that any
20   like.                                                               20   consideration. You've got to decide the case based on the
21        When I read about other cases that have that, I always --      21   evidence.
22   so, my sense -- this is not really something I've really            22        And then you ask them questions designed to discern
23   studied, so what I'm saying may be incorrect now, but my sense      23   whether they are capable of doing that and they think they're
24   is that, oftentimes, if the person has been exposed to any --       24   capable of doing that.
25   any information at all in the media about a particular -- that      25        My gut reaction is that somebody like that should remain
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 1   on the jury if they answer those questions to your                 1 reason for the number. That's all I wanted to say.
 2   satisfaction.                                                      2          THE COURT: Thank you.
 3        So I wanted to let you know that, A, that's my gut            3          MR. STEKLOFF: And, Your Honor, may I respond to your
 4   reaction; B, it is not an issue that I've studied; C, my sense     4 hypothetical?
 5   is that in other high-profile trials perhaps judges do it          5           THE COURT: Sure.
 6   differently and are more quick to excuse people.                   6           MR. STEKLOFF: I think there's a difference -- and I
 7        So I wanted to invite you to submit briefing on that          7 don't want to concede that a juror's heard about, using your
 8   issue, briefing on, you know, the extent to which exposure to      8 hypothetical, IRARC and World Health Organization and EPA.
 9   media coverage of the issue of Roundup causing or not causing      9       There's a difference between that because I would feel
10   cancer would automatically disqualify somebody from being on a 10 confident that within, you know, five minutes of the case
11   jury.                                                             11 starting in opening that there will be talk on the plaintiffs'
12            MR. GRIFFIS: Your Honor, may I say one thing that        12 side about what the World Health Organization found and
13   doesn't answer the question you just asked?                       13 probably on the defense side about the EPA.
14            THE COURT: That's always a good way to introduce a 14             So that seems different than the other example --
15   comment.                                                          15           THE COURT: Although that may be -- I mean, I touched
16            MR. GRIFFIS: I'm one of the lawyers who tried the        16 on that issue in my Daubert ruling.
17   case for Monsanto, and I just stood up to make one point in       17           MR. STEKLOFF: Yes.
18   clarification of something Mr. Wisner said. He said 120 jurors    18           THE COURT: We may have further discussions about
19   were put into the venire and then we picked a jury from that.     19 that. But, anyway, go ahead.
20        That was the first venire. We had 120 jurors, and Judge      20           MR. STEKLOFF: I agree. And I'm not conceding that
21   Bolanos's thought was we would successfully impanel a jury from 21 they should be allowed to talk about the World Health
22   those 120, and we did not. She had to bring another 100-plus.     22 Organization and IARC. We'll where that goes. But it's a
23   I don't remember if it was 100, 110 or 120, but at least a        23 little bit different, I guess, is my point, than something that
24   hundred more jurors in order for to us get to a jury. And         24 is totally irrelevant to the jury's consideration, that they've
25   there's been a lot more publicity since then. That's the          25 been exposed to, which is that a group of jurors viewing what


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 1   they will assume is similar evidence to what they are seeing,        1   sense is that my instinctual reaction about where the line
 2   whether it will be similar evidence or not, based on that            2   should be is maybe different from other judges' reaction about
 3   evidence, came to a unanimous decision that Monsanto, one,           3   where the line should be and, therefore, I want to understand
 4   caused someone's cancer to the amount of, I think, $29 million       4   the scope of my authority on this issue, on -- on that topic.
 5   in compensatory damages; and, two, engaged in such malice and        5            MR. STEKLOFF: Thank you.
 6   oppressive conduct -- I guess it was $39 million --                  6            THE COURT: Does that make sense?
 7            MR. WISNER: 20.                                             7            MR. STEKLOFF: Absolutely. And that's helpful, and we
 8            MR. STEKLOFF: -- add a $250 million punitive verdict.       8   can brief that.
 9   And so that is just completely irrelevant to what is going to        9             THE COURT: When should you file those briefs?
10   happen in the courtroom and will never be explained to them one     10             MR. STEKLOFF: We can be flexible.
11   way or another.                                                     11             MR. WISNER: Your Honor, would you like concurrent
12            THE COURT: I understand what you're saying, and I          12   briefing or would you like sequenced briefing?
13   would like to get briefing on this topic. But, I guess, my gut      13             THE COURT: In this case you can just each file a
14   reaction is, people are exposed to irrelevant information           14   brief, I think, and no replies or anything like that.
15   outside the courtroom with some regularity, and we tell them        15             MR. WISNER: Two weeks works for me. I don't know
16   not to consider it. And so where is the line?                       16   what your -- this is not a rushed thing. We have some time
17        I mean, maybe the line is with the verdict. Maybe you          17   before February.
18   draw the line at the verdict and you say, well, if they've been     18             THE COURT: Why don't we just say -- what if I told
19   exposed to other information, maybe that's okay, maybe they can     19   you -- why don't you get through the discovery cutoff and stuff
20   be rehabilitated, or maybe we can ask them questions about          20   and why don't you file it on -- why don't you file it on
21   whether they can decide the case fairly. Maybe if they know         21   November 30th. How about that? Friday, November 30th.
22   about the verdict, maybe they can't. You know, maybe that's         22             MR. STEKLOFF: That's acceptable, Your Honor.
23   too much.                                                           23             THE COURT: Okay.
24        I don't know. I'm just saying that I don't know where the      24             MR. WISNER: I would also point out, Your Honor, I
25   line is. And my gut is that my instinctual reaction -- my           25   think this is important, and you'll see it in our brief,
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 1   although it really won't address the issue you just raised,        1          MS. WAGSTAFF: Your Honor, that's probably a good
 2   which is the scope of your authority.                              2 idea. And we would propose the week after Thanksgiving. Maybe
 3         For example, excluding anybody who's read the news           3 the 28th, 29th, or 30th.
 4   essentially creates its own bias.                                  4          MR. LASKER: Just a second, Your Honor.
 5             THE COURT: Well, that's the difficulty I have with       5          THE COURT: Sure. Take your time.
 6   this issue. That's kind of my concern.                             6              (Discussions held off the record.)
 7             MR. WISNER: Okay.                                        7         MR. STEKLOFF: Your Honor, only because we're going to
 8             THE COURT: Yeah. Okay. So what I would like to do        8 submit those jury selection briefs on November 30th, we thought
 9   is maybe take a short break.                                       9 maybe the following week might be better, after you've had a
10         And then I think that the only things remaining on the      10 chance to review those, so we can potentially continue to have
11   list that I rattled off at the beginning -- the only thing        11 discussion about jury selection. So we were going to throw out
12   remaining is the Defendant Fact Sheet and then any other          12 the 3rd or 4th, which is the following week.
13   discovery on the defendant.                                       13          THE COURT: In terms of when I would most likely --
14         I have different thoughts about different subjects that     14 when it would most likely -- when I could be most helpful to
15   you-all raised within that, so I may have to take a little bit    15 you, does that sound like an appropriate time?
16   more time; hopefully, not too long.                               16          MR. STEKLOFF: I think sometime in early to mid
17         So why don't we take a break and come back at ten to 4:00.  17 December makes the most sense because it will give us enough
18                      (Recess taken at 3:39 p.m.)                    18 notice before trial on those types of issues. Doesn't have to
19                   (Proceedings resumed at 3:54 p.m.)                19 be the 3rd or 4th.
20             THE COURT: Before I forget, should we schedule          20          MS. WAGSTAFF: Yeah, if it turns out that we don't
21   another case management -- I know we earlier today scheduled a 21 have anything substantive, we can request it be telephonic or
22   telephonic CMC for the Bailey case, but should we schedule        22 request it be cancelled altogether.
23   another case management conference for a longer multi-issue       23          THE COURT: I guess, you know, my preference would
24   discussion like the one we're having now? And if so, when         24 be -- my preference actually would be to do it on the 28th,
25   should that be?                                                   25 just for our schedule. And you could file your -- file your


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 1   brief on -- briefs on jury selection on -- well, you know what?      1   up, I just wanted to bring to your attention something that I
 2   Sorry. Scratch that.                                                 2   will be filing in the next week, which is a -- one of my
 3        So we have jury selection on the 5th in a case that's           3   client's, Richard Giglio, his case number is 3:15-cv-02279, in
 4   definitely going to go. What about -- oh, what's this                4   the Southern District of California, he's actually the second
 5   evidentiary hearing on the 6th?                                      5   oldest federal complaint. He's dying, and so we're going to be
 6        (The Court and courtroom deputy confer off the record.)         6   filing a motion for a preferential trial date. That will
 7           THE COURT: Give me just one second here. Let's do            7   probably come in the next week or so. I haven't had time to
 8   Wednesday afternoon, at about 2 o'clock, because we'll have          8   confer with Monsanto yet, but I just wanted to give you a
 9   that jury picked by lunchtime.                                       9   heads-up that we will be filing that.
10           MR. BRAKE: I'm sorry. Your Honor, what day?                 10            THE COURT: Okay. And so what are you going to be
11           THE COURT: Sorry. December 5th. Let's say 1:30,             11   requesting, that he kind of go into Group 1 or something?
12   actually.                                                           12            MS. WAGSTAFF: I don't think that he could be ready
13        And so why don't you file a case management statement on       13   by -- well, maybe he could. We're kind of working out --
14   the 30th, along with your briefs that are due on the -- on the      14            THE COURT: He would have to be tried down in the
15   jury selection issue. Why don't you also file proposed              15   Southern District then, under the current circumstances anyway?
16   questions for a jury questionnaire, because that will help us       16            MS. WAGSTAFF: Yeah.
17   inform the discussion.                                              17            THE COURT: Okay.
18        So on the 30th, file questions that you would propose. I       18            MS. WAGSTAFF: And Judge Moscowitz is the judge that
19   would try to keep it light, if you could. But file questions        19   he was assigned.
20   for the proposed jury questionnaire. And then, obviously, in        20            THE COURT: Okay. So I assume that what that will
21   the case management statement you can tee up whatever else you      21   mean is that you will want to -- we'll want to work up any
22   want to tee up.                                                     22   summary judgment motions on that case on an expedited basis
23        Okay. So that's good. Now, fact sheet. Let me pull             23   even though it's not in Group 1?
24   those papers up.                                                    24            MS. WAGSTAFF: That's right, Your Honor. We'll be
25           MS. WAGSTAFF: Your Honor, while you're pulling that         25   asking for something like that, pretty much a CMO for a trial
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 1   date and remand. And it's been Your Honor's communication to 1 the Plaintiff Fact Sheets that we've received for the first
 2   us that you want him to be trial ready before remand, so we       2 three plaintiffs, is that the Plaintiff Fact Sheets don't
 3   would be asking that his case be released from the stay and get   3 actually identify information that would even allow us in any
 4   trial ready.                                                      4 theoretical world to provide information that plaintiffs are
 5            THE COURT: Consider whether you want to put it on the 5 requesting. In part because plaintiffs don't identify the
 6   same schedule -- I was proposing that you set a schedule for      6 product they used accurately.
 7   Bailey, you know, to be ready to try in May. Consider whether     7      I mean, for example, Mr. Hardeman identifies having used
 8   you want to put this case on the same schedule and the same       8 Roundup concentrate. There is no product named Roundup
 9   discovery schedule, the same summary judgment schedule, with      9 concentrate. And we don't -- so we can't respond with respect
10   the idea that it would, I guess, be transferred after that.      10 to that particular product.
11         Of course, Monsanto may oppose this motion, and I'll --    11      And, similarly, we have an issue of -- we don't have
12             MS. WAGSTAFF: Yes.                                     12 identification, and maybe this is something that we could have
13             THE COURT: -- obviously consider that.                 13 done differently in Plaintiff Fact Sheet, but we don't know
14             MS. WAGSTAFF: To be fair, this is the first time       14 where they purchased the product.
15   they've heard about it.                                          15      We know sometimes there was a town where they used it or
16             THE COURT: All right. Let's see here.                  16 where they claim they were exposed, but there are three, for
17         Pull up your case management statement. Okay. So here      17 example, different markets entirely. There is a residential
18   is -- let me give you my kind of tentative view on each of       18 market, there is an IT&O market, and there's an agricultural
19   these topics that you have flagged for a Defendant Fact Sheet.   19 market.
20             MR. LASKER: If I could, Your Honor, there are some 20          And it's possible, certainly with the IT&O and the
21   issues that I think as in further looking at this may inform     21 residential, depending on which store you go to, they may be
22   your thinking, that I think will be useful, because we've been   22 parts of different markets.
23   trying also to get our hands around what would be the most       23      I'm not sure if there's agricultural co-ops, those would
24   efficient way of addressing some of these issues.                24 also be something a person would go and get a product. I don't
25         And one of the big problems we have comes out, as well, in 25 know. But we don't know -- based on the information they've


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 1   given us, we wouldn't be able to get that information either.         1   so that each individual plaintiff, to the extent they can
 2        Now, we do, for individual plaintiffs, based upon their          2   identify the product -- or if not, it doesn't, I guess,
 3   Plaintiff Fact Sheet, we have produced already to the                 3   matter -- we will have that information provided to the
 4   plaintiffs all the labels we have -- those were produced a long       4   plaintiffs so that that would sort of cover the universe.
 5   time ago -- for our products. We have also produced the               5         We would not have to respond plaintiff by plaintiff in a
 6   formulation sheets for all of the products. That was produced         6   way that is not going to work anyway.
 7   a long time ago.                                                      7            THE COURT: So what information would come with the
 8            THE COURT: On the labels, you produced all the labels        8   list of the 50 products?
 9   you've used. Does it come with any explanation of where and           9             MR. LASKER: Okay. So it would be the formulation,
10   when these labels appeared?                                          10   the statement of formulation, which is what they are
11            MR. LASKER: Right. That's what I'm going to get             11   requesting. We already have produced those, so we would be, I
12   into, because what we think is the most efficient way of doing       12   think, pointing plaintiffs to where those are in the -- in the
13   this is some summary document as opposed to trying to do this        13   document production we already have.
14   plaintiff by plaintiff, which we can't do anyway.                    14         And I think --
15        And we're looking at -- I know in our case management           15             THE COURT: You were saying, We want to provide all
16   statement we were trying to figure out a way of doing this, but      16   this information in one place. And so you're going to provide
17   the problem that we're seeing is that it still relies upon the       17   all this information in one place whether they have it already
18   plaintiffs to have information they can give us that's actually      18   or not. And you're going to -- you're going to identify the
19   accurate.                                                            19   product, each product.
20        So there are a number of formulations that have been            20            MR. LASKER: Correct.
21   marketed in the United States. It's actually fairly lengthy.         21            THE COURT: You're going to identify each formulation
22   Probably about 50 different formulations of products that have       22   for each product.
23   been marketed in the United States.                                  23            MR. LASKER: Well, we can -- I mean, there's two ways,
24        And what we would propose doing is to be able to provide        24   I suppose, we can do this. And I haven't really thought it
25   information with respect to those products in a summary fashion      25   through.
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 1        We have produced documents that actually have the             1          MR. LASKER: Well, I'm not sure that we have products
 2   formulation on them. So, as opposed to us writing a                2 that were only available in certain locations. I'm not exactly
 3   interrogatory response, we would either identify where that is     3 sure of the answer to that. The statement of formulation, the
 4   in the production set for them or --                               4 labels have dates on them, so those dates will be provided with
 5           THE COURT: Okay. So forgetting, for the moment,            5 those documents.
 6   about the format the information comes in, the information that    6          THE COURT: So we know when certain formulations were
 7   you're -- is there a tapestry that you're proposing to provide     7 available on the market, you're saying; right?
 8   to the defendants -- I mean, the plaintiffs?                       8          MR. LASKER: Right.
 9        The product, the formulation. What else?                      9          THE COURT: Is that right? Okay. So when available.
10           MR. LASKER: The labels. Again, we have a document 10              So the product, the formulation, the labels that came with
11   production --                                                     11 that product, when that product was available. What else?
12           THE COURT: Forgetting, for a moment, about whether 12             You don't have any information about where certain
13   you have a document production --                                 13 products were available and not available?
14           MR. LASKER: Right.                                        14          MR. LASKER: I don't believe we would have that
15           THE COURT: -- or not, just the information that we        15 information. It's generally marketed. I don't know that we
16   want to make sure is conveyed to the plaintiffs in some form.     16 would know --
17   Product, formulation, labels.                                     17          THE COURT: If something was available in Northern
18           MR. LASKER: Right.                                        18 California but not in North Carolina or vice versa.
19           THE COURT: What else?                                     19          MR. LASKER: I have to admit I don't even know whether
20           MR. LASKER: I think with respect to the --                20 that type of market segmentation happened. I have to go back.
21           THE COURT: The formulation, that includes what            21 And I'm not prepared on that issue. I don't believe we would
22   surfactant was used.                                              22 have that information, but I don't know specifically.
23           MR. LASKER: Yes.                                          23          THE COURT: Okay. What else?
24           THE COURT: All right. What about where it was             24      Is there any other information that could be provided on a
25   available and when it was available?                              25 product-wide basis that would be helpful to sort of -- to help


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 1   the plaintiffs zero in on the particular products that a             1   that it was no longer available on the market. That's based
 2   particular plaintiff might have been likely to be exposed to?        2   upon -- I don't think -- I don't think we track that
 3            MR. LASKER: Not that I'm aware of, Your Honor.              3   information.
 4            MS. WAGSTAFF: So, Your Honor, the other things that         4            THE COURT: Surely you have dates about when a
 5   we asked for in our -- and this is just -- sounds like what you      5   product -- a particular product or formulation was
 6   all are talking about right now is Capital A on page 2 of our        6   discontinued.
 7   proposed DFS.                                                        7            MR. LASKER: We have dates upon which new products
 8            THE COURT: Seems like it, yeah.                             8   were -- formulations became available on the market. But to be
 9            MS. WAGSTAFF: Yeah. And so the other things that we         9   able to say as of this date this product was no longer sold, I
10   asked for would be the source of the surfactant, if Monsanto        10   don't think we retained any of that information, no, Your
11   could provide that, and the percentage of concentration.            11   Honor.
12        And I'm not -- I guess I'm just not familiar enough with       12        Again, the issue here is we have -- and it depends, I
13   the date on the label, but --                                       13   guess, upon how you define the product and how -- because we
14            THE COURT: I mean, I assumed that the word                 14   have the same formulation that might have slight labeling
15   "formulation" would have included percentage of --                  15   changes, and so those new labels would go out. Might be
16            MS. WAGSTAFF: Okay.                                        16   renamed, so you would have the new name of the product that
17            THE COURT: -- the surfactant. Is that right?               17   goes out.
18            MR. LASKER: It is, Your Honor.                             18            THE COURT: Right.
19            THE COURT: Okay.                                           19            MR. LASKER: And that would be authorized as of a
20            MS. WAGSTAFF: Okay. And we want to know not just           20   certain date. When that -- whether that's exclusive or when
21   when they became available but when they were no longer             21   the other product is no longer, under that name, available we
22   available.                                                          22   wouldn't have that information. We have EPA approvals to
23            THE COURT: I was assuming that that was included.          23   market the new product.
24            MR. LASKER: I'm not sure we'll be able to pinpoint         24            THE COURT: Right. But I guess I would be surprised
25   all of those dates. That -- I don't know that we have a date        25   to learn that a company like this doesn't have information
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 1   about when it stopped producing a particular formulation of       1 to other folks.
 2   this product.                                                     2      As far as -- I mean, there are certain products that, by
 3        Why wouldn't they have that information?                     3 their nature, are specific to certain types of -- particularly
 4            MR. LASKER: Your Honor, there is -- I mean, the way      4 in the agricultural space, but even in the potentially IT&O
 5   this market works with different formulations and different       5 space where there are formulations that are designed for
 6   changes in the labeling, as long as the product was approved      6 certain times of crops or certain types of weeds, then, by the
 7   for sale by the EPA, if there was a market that wanted that,      7 nature of the products, they may be more -- you know, more of a
 8   the product might be available.                                   8 demand in certain areas than in others. But beyond that, we
 9        We -- under the regulatory scheme that is imposed, we need 9 wouldn't have any information, Your Honor.
10   to get authorization to be able to sell products and to sell     10         THE COURT: Okay.
11   new products. But it's not like when you have a prescription     11         MS. WAGSTAFF: So with respect to, again, just talking
12   drug case where you have one drug and then it ends off the       12 about one, and we talked about marketing as well, but just the
13   market and it's sort of a clear situation. That's not the way    13 concept of what Mr. Lasker is talking about, I think plaintiffs
14   this market works. That's all I can tell you.                    14 would be okay with -- the way I'm kind of thinking about it in
15        We have looked to see what information we have. We have 15 my mind is a big chart where a plaintiff who used a
16   this information on labels and formulations. Obviously, to the   16 particular -- you know, in three years could come in and point
17   extent that there is a dispute if a plaintiff says that they     17 and say, Here I am on this chart.
18   used it, we're not going to be able to say they didn't by        18      Mr. Lasker is saying that he's given us a lot of this
19   saying, No, we stopped. That's an issue for us.                  19 information. I'm not sure if that's true or not, but you told
20            THE COURT: You don't -- it sounds like you're saying 20 to us put that aside. And I just want to make it clear that
21   you haven't really investigated yet whether one particular       21 the labels don't always say the surfactants in the formulation,
22   product or one particular formulation might have been available 22 so I want to make sure you're going beyond --
23   in North Carolina but not in Northern California.                23          THE COURT: Well, I --
24            MR. LASKER: I'm going to have to speak for myself. I 24             MS. WAGSTAFF: -- different documents. Okay.
25   don't know the answer to that. I'll have to go back and talk     25          THE COURT: I think that this situation calls for


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 1   Monsanto to put together the kind of chart -- you referred to         1   Defendant's Fact Sheet. I think I looked at it back at the
 2   it as kind of an interrogatory response. I think this                 2   last one.
 3   situation calls for that.                                             3            MS. WAGSTAFF: It's the same one, yeah.
 4            MS. WAGSTAFF: Okay.                                          4            THE COURT: But I haven't looked at it anew.
 5            THE COURT: So even if Monsanto has -- even if the            5            MS. WAGSTAFF: So in the chart that we're all
 6   information could be gleaned from the millions of documents           6   contemplating, we've talked about numbers 1 and 2. So A1 and
 7   that Monsanto has been asked for in this case, I think Monsanto       7   A2. That's a hard copy of it.
 8   needs to put together this information so it's all in one place       8        And then the next topic would be marketing material for
 9   and the plaintiffs can do what you're describing.                     9   each of these products.
10            MR. LASKER: And that was our proposal.                      10            THE COURT: Right. And I would think that the same --
11            THE COURT: Okay.                                            11   that that needs to be included as part of this package.
12            MS. WAGSTAFF: Okay. And so then going on -- and this        12            MS. WAGSTAFF: Yeah.
13   is, again, just going on --                                          13            THE COURT: Something that can be readily accessed,
14            THE COURT: Hold on.                                         14   that allows the plaintiffs to link a particular product to
15            MS. WAGSTAFF: Oh, sorry.                                    15   particular marketing materials.
16            THE COURT: Were you going on to the like sales rep          16            MR. LASKER: Yeah. So, Your Honor, on that issue,
17   and distributor info?                                                17   again, we have different markets. With respect to -- I guess
18            MS. WAGSTAFF: No. I was on page 3, now, of our              18   there's two points to this. There are -- there was questions
19   proposed DFS number 4. We captured marketing along with the          19   about sales representatives and those materials.
20   labeling, so the labeling was 1 and formulation was 2.               20        So for the residential products, those have been, since
21        3, we had asked for --                                          21   19- --
22            THE COURT: I actually haven't -- you'll have to             22            THE COURT: Well, let's put aside sales reps for a
23   forgive me. The one thing I forgot to look at -- I read your         23   minute. It sounds like a slightly different discussion talking
24   discussion in the case management statement about the different      24   about sales reps as opposed to advertising materials.
25   topics, but I actually haven't looked at the proposed                25        Or are you saying sales reps carried with them marketing
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 1   materials?                                                       1 already been produced, who already have -- plaintiffs already
 2           MR. LASKER: The distinction then comes in marketing      2 have their depositions as well.
 3   and advertising and not necessarily in Monsanto speaking the     3           THE COURT: Which market is this? Sorry.
 4   same as you're envisioning. So let me just sort of lay out       4           MR. LASKER: This is for the IT&O, which is
 5   what our issues are and how we think we can go about this.       5 landscapers. Industrial turf and ornamental is what that
 6        So with respect to the residential -- or consumer, I        6 stands for.
 7   guess, residential market, since 1998, that has been handled by  7      We do have territory maps going back to 2004, so we've
 8   Scotts. They have been in contract with Monsanto to handle all   8 looked at that to identify who had responsibilities for which
 9   of the marketing of those materials. We don't have --            9 regions in the country. We can produce those maps, and I'll
10           THE COURT: Scotts?                                      10 have the names of those individuals.
11           MR. LASKER: Scotts, like the Scotts Home-Gro. So we 11          Again, with respect to the cases that will be tried here,
12   don't have that in house. That's been handled by Scotts. We     12 Your Honor, for the IT&O market, that's Steve Gould, whose
13   don't have any information pre-1998. That's 20 years ago. We    13 documents were already produced. And he was deposed in
14   just don't have that information retained.                      14 connection with the D. Johnson case. So that discovery has
15        There has been discovery already with respect to -- from   15 been had. Again, that's IT&O.
16   Monsanto with respect to that relationship. The contract has    16      I don't know that any of the plaintiffs in your Group 1
17   been produced. There's been lots of documents that have         17 trials, the first three are all residential, so those would all
18   already been pulled into the document production. But that      18 be covered by Scotts. I don't know if the other two will have
19   should cover the residential home user market.                  19 any IT&O component to them.
20        With respect to the IT&O market, there are regional sales  20      The final category is the agricultural products. And,
21   managers. And, in fact, for California, that is a Pool [sic]    21 again, we have territory maps that we can provide that I think
22   who's already been deposed and whose documents has already been 22 also go back to 2004. Those are much more complicated.
23   produced.                                                       23           THE COURT: You're talking about territory maps for
24        There are two others, Tim Ford and -- I'm blanking on the  24 sales reps now? Is that what you're talking about?
25   last name, I'm sorry -- Jack Conway, whose documents have       25          MR. LASKER: Yeah. They would be chemistry account


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 1   managers, which is the same thing.                                   1   custodial-based files.
 2           THE COURT: Okay.                                             2        That's why, for example, with the D. Johnson case, Steve
 3           MR. LASKER: And we can produce some information. We          3   Gould was made available, all the documents were made
 4   have -- let me take that back. I'm going through my notes            4   available, and the deposition made available of the IT&O
 5   here.                                                                5   manager in this part of the country.
 6        We have a current version of the map for various                6        We -- you know, to be able to -- and I think, as I said,
 7   territories, and the chemistry account managers in those areas       7   for IT&O we've already done that for three of the people who
 8   we can produce.                                                      8   cover large parts. We also have the midwest because we have
 9        We do not have historical maps that lay out that                9   cases out there. That's already been handled.
10   information to be able to identify those people, but we do have     10        For the residential side, Scotts' documents have already
11   a current map that we can produce to the plaintiffs.                11   been produced. And there's a number of, through custodian,
12        Again, that's not going to affect the current trials we        12   records again, because we've had discovery that's been ongoing
13   have lined up here. None of them were agricultural, but going       13   and not as quite -- quite as clear from the case management
14   into the future, something down the road, if we have -- I'm not     14   statements as it could be, Your Honor.
15   even sure in Group 2, but if we have Group 3 and we have            15        We have been continuing to produce documents at our
16   plaintiffs in other parts of the country, although I assume we      16   ongoing production of documents. Through meet-and-confer we've
17   have some agricultural in California as well.                       17   had with some of the same plaintiffs' counsel in the St. Louis,
18            THE COURT: But, again, I do think that in -- perhaps       18   Missouri litigation, we just produced 400,000 documents, I
19   in this area, too -- when you're talking about sales reps and,      19   think, at the end of October.
20   I guess, distributor materials, you know, it should all be kind     20        And we have another production with respect to maybe
21   of in one place where the actual plaintiffs can look and try        21   400,000 pages, six custodians. We have another four custodians
22   and figure out where they fall on that.                             22   whose documents we are producing at the end of November or
23            MR. LASKER: Okay. So the way that -- and this is --        23   sometime in the next -- sometime in November.
24   as you'll recall, when we went through this for discovery in        24        So we've been doing that same sort of approach in getting
25   phase 1, Monsanto didn't have central files as such. These are      25   those documents out. And so that is the way -- you know, we
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 1   would propose we have those identified, the people who would       1 those from Scotts. Or if they've been produced -- or if we
 2   have the information.                                              2 need to get them from Scotts because Monsanto doesn't have
 3             THE COURT: I'm left with a very abstract                 3 control over them, I guess we would do that.
 4   understanding of what you're -- that description leaves me with    4      But to complete that chart and this Capital A that was in
 5   a very abstract picture of what's being provided to the            5 our DFS, that's sort of what we would be thinking that we
 6   plaintiff.                                                         6 wanted, was just, you know, a chart where it said, you know, in
 7        So I'll ask you: What do you think you need that you          7 these particular years this brochure was in circulation. Very
 8   don't have that you can't readily cull from the stuff that you     8 simple.
 9   already have?                                                      9         THE COURT: And here's where.
10             MS. WAGSTAFF: Yeah, I was completely on board           10         MS. WAGSTAFF: And here's where, yeah.
11   following it until he started talking about the sales rep         11         MR. LASKER: And just to be clear, Your Honor,
12   stuff.                                                            12 Monsanto does not have those types of records, and that's not
13        Just going back to the marketing material, what I would      13 the way the product marketing was handled.
14   like to include in the chart is -- he says he has 50              14      There was advertising agencies who did have the
15   formulations. I'd like to look at the chart and say product 43    15 responsibility. It was contracted with advertising agencies
16   had these marketing materials associated with it, these TV        16 who we've identified for plaintiffs.
17   commercials, these pamphlets, these newspaper ads, whatever it 17         One of them is in the course of producing documents right
18   was that they marketed for this period of time.                   18 now. That's Osborn & Barr.
19        If it's localized by region -- which it may be in the        19         THE COURT: In the course of producing documents what?
20   marketing, maybe not with the formulations, but by region, you    20         MR. LASKER: I'm sorry, the name of the advertising
21   know, they probably target their ads differently in San           21 agency is Osborn & Barr. And so plaintiffs have requested
22   Francisco than they do in New York City or wherever -- that's     22 discovery on Osborn & Barr, and that production is underway, I
23   what we would want.                                               23 believe.
24        And to the extent that Scotts has them, I would think        24         THE COURT: Okay. Let me just cut this off for a
25   that's in Monsanto's control. I think they could probably get     25 second and ask you a question.


                                                                     87                                                                        88
 1        One of the things I was going to propose for this is             1   these three plaintiffs, or potentially four plaintiffs if you
 2   perhaps -- I don't know if this is the right answer, but              2   include Bailey, right, and you say, okay, Monsanto, you need to
 3   perhaps taking a different approach to the Group 1 plaintiffs         3   identify -- like, based on the information you have about these
 4   and the remaining plaintiffs.                                         4   three plaintiffs or these four plaintiffs, you need to identify
 5             MR. LASKER: Okay.                                           5   the products they may have been exposed to and, based on the
 6             THE COURT: Okay. Now, for the Group 1 plaintiffs,           6   information they've given about when they were exposed, where
 7   first of all, let me just say that, on a couple of the issues         7   they were exposed, where they got the stuff, et cetera, et
 8   that the plaintiffs have flagged, adverse event reports and           8   cetera, okay, you need to give us information on, you know, the
 9   communications with healthcare providers, I don't think that is       9   products they were potentially exposed to, the labels attached
10   the subject of a -- of a Defendant Fact Sheet.                       10   to those products, the formulations -- the different
11        I don't see what -- those seem like both -- probably it's       11   formulations that those products might have had, any sales reps
12   very unlikely that in most situations either of those two            12   who were involved in distributing that information, any
13   things are going to be hits. And you can ask questions in            13   materials that were given to the sales reps, any material that
14   discovery about them as to specific plaintiffs if you want to.       14   the sales reps may have given to sellers, any advertisements
15        It's also information the adverse event report issue,           15   that were associated with those products. Just for those three
16   that's something that should be in the plaintiffs' -- plaintiff      16   or four, all of that information just comprehensively and
17   should possess some -- you know, if they called the emergency        17   clearly provided to the plaintiffs in one document or
18   hotline or whatever, they'll probably remember that.                 18   understandable set of documents in the form of an interrogatory
19        So that's number one, is I didn't think those should be         19   response or something like that, whatever you think makes the
20   part of Defendant's Fact Sheets. Those two issues.                   20   most sense. Charts, whatever. Okay. And then we could have
21        So then that would leave us with, I think, pretty much all      21   further discussion about what's the best way to present this
22   the stuff we have at least started talking about, right?             22   comprehensively in a way that can be used by the remaining
23   Product labels, formulations, surfactants, advertising, sales        23   plaintiffs.
24   reps, distributor information.                                       24        So let me ask first, does that make sense? Because I'm
25        That stuff, I wonder if it would be better to zero in on        25   focused, again, primarily on getting these three or four cases
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                                                                    89                                                                  90
 1   ready for trial in short order.                                    1 Monsanto to provide that information, obviously we can ask the
 2             MR. LASKER: And I think that does make sense, Your       2 plaintiffs those questions.
 3   Honor. We will need to get, though, more information from the      3          MR. LASKER: Sure.
 4   plaintiffs because -- and I'm not exactly sure what we'll do.      4          THE COURT: But the plaintiffs are going to provide
 5        As I said, Mr. Hardeman, in his PFS, stated he was exposed    5 that general information, information that we could reasonably
 6   to Roundup Concentrate. We don't have aproduct named Roundup 6 expect to be in their possession. And then Monsanto is going
 7   Concentrate.                                                       7 to figure out what products were available to that plaintiff,
 8            THE COURT: Right. But that's an easy --                   8 and here is all the information about advertising,
 9            MR. LASKER: There are numerous other products that --     9 formulations, et cetera, et cetera, labels, about these
10         (Unreportable simultaneous colloquy.)                       10 products that were available -- we could reasonably expect to
11            THE COURT: But you know where Hardeman was exposed, 11 have been available to the plaintiff at that time.
12   you know when he was exposed. So at that point, based on -- so 12             MR. LASKER: Yeah.
13   what I'm saying -- and I may not have made this clear --          13          THE COURT: So that's how that's going to go.
14             MR. LASKER: Right.                                      14          MR. LASKER: That makes sense, Your Honor. And I'll
15             THE COURT: -- it's not going to be on the defendant     15 need to find out -- I think -- obviously, we have a very fast
16   to remember precisely what Roundup or what glyphosate product 16 time frame, so we'll need to get to the plaintiffs very quickly
17   or Roundup product -- pardon me, it's not going to be on the      17 about the specific questions we need beyond what we have in the
18   plaintiff to know precisely what Roundup product he was exposed 18 Plaintiff Fact Sheets right now to be able to --
19   to back in 1997.                                                  19          THE COURT: Okay. So as to those three plaintiffs --
20        It's going to be on Monsanto to figure out what are the      20          MR. LASKER: Yes.
21   likely products that the plaintiff was exposed to back in 1997.   21          THE COURT: -- any additional information you need,
22   And any information that you need from the plaintiffs to get a    22 you must -- you must tell them about it by Wednesday of this
23   clue about that, did you get it -- you know, how did you          23 week. And they must respond to you with that information by
24   acquire this stuff, where did you use it, when did you use it,    24 Friday of this week.
25   any questions that we need to ask of the plaintiffs to allow      25      And then Monsanto can get to work on providing-- whether


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 1   you want to call it a fact sheet or a interrogatory response or       1   information. The question is whether all of that
 2   summary or a chart, I don't care what you call it. All that           2   information -- I mean, I guess, basically -- are we talking
 3   information that we have just discussed needs to be provided in       3   about Group 2 here or are we talking about everybody?
 4   a readily available and readable and understandable format to         4           MS. WAGSTAFF: So, you know, the way we proposed this
 5   the plaintiffs.                                                       5   was that Monsanto would respond to every plaintiff when they
 6           MR. LASKER: That makes sense, Your Honor.                     6   filed the Plaintiff Fact Sheet.
 7           MS. WAGSTAFF: So, Your Honor, I think that works for          7            THE COURT: Right.
 8   those three, but I -- I want to take us back to our last CMC          8            MS. WAGSTAFF: And so that's obviously our preferred
 9   when plaintiffs were requesting that a PFS not be on every            9   method. I do see the --
10   single plaintiff. And I believe it was Your Honor's position         10            THE COURT: It doesn't seem that practical.
11   that the information in the PFS helped Monsanto to pick              11            MS. WAGSTAFF: I do see that the -- the benefits of
12   bellwether cases. This information obviously will help us pick       12   doing a big chart. So it would be for every plaintiff, it
13   bellwether cases, which --                                           13   wouldn't just be for Group 2 plaintiffs just like we're doing
14            THE COURT: I'm not saying to put off --                     14   PFS for every plaintiff.
15            MS. WAGSTAFF: Okay.                                         15            THE COURT: Well, one thing I was curious about,
16            THE COURT: -- figuring out how to get Monsanto to           16   Group 2, we were originally trying to zero in on people who
17   provide you the other information you need.                          17   were likely exposed in California; right?
18           MS. WAGSTAFF: Okay.                                          18        And, again, that is somewhat artificial now, based on what
19           THE COURT: To me, the most important thing is I want         19   I've told you, that I'm not comfortable, at least at this
20   it done for these three plaintiffs very quickly. Okay.               20   point, pursuing the approach that I was considering pursuing
21        So now we can turn back to the discussion of the format in      21   with respect to Group 2.
22   which all this other information is provided. And it sounds          22        But perhaps a solution is just -- like, that would be
23   like we were making some progress on there.                          23   useful to virtually every Group 2 plaintiff, would be to focus
24        We've sort of knocked out adverse event reports and             24   on California and just say, all right, Monsanto, we're going to
25   communications with healthcare providers, and the remaining          25   make you focus on California.
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                                                                     93                                                                    94
 1        And for every Monsanto product that was available in           1 revisit what the plaintiffs have to do. The plaintiffs have to
 2   California from this time to that time, or maybe all time, I        2 do what they have to do.
 3   don't know, you know, identify the label, identify the              3      The question is: Does it make sense right now to limit it
 4   formulation, identify the surfactants -- I guess that's part of     4 to California? Does that make it more manageable for Monsanto?
 5   identifying the formulation.                                        5 Or is there really no difference between doing that for, you
 6        Tell us -- you know, tell us where these products were         6 know, people who we can assume were exposed in California as
 7   available, if not everywhere. Tell us when they were available      7 opposed to other parts of the country?
 8   in California. Give us information about where they -- where        8          MR. LASKER: Yeah, I believe it would be more
 9   in California they were available, if they were available in        9 manageable, they'll that in phases.
10   some part of California but not other part of California. Give     10          THE COURT: I mean, you're going to have to do it for
11   us all the sales reps who were involved. Give us all the, you      11 every --
12   know, marketing material or distributor material that they had     12          MR. LASKER: I know. I mean, it really is just a
13   and all the advertising associated with all the products sold      13 timing issue and doing this as efficiently as possible, because
14   in California.                                                     14 certainly, we are, over the course of this litigation, going to
15            MS. WAGSTAFF: So if the purpose --                        15 provide that discovery. We have already been providing
16            THE COURT: And when those ads ran, if you have that 16 discovery along those lines in other jurisdictions as well.
17   information.                                                       17      Frankly, it's in our interest to be able to do this and be
18            MS. WAGSTAFF: So if the purpose of these information 18 done. And so I think what Your Honor is proposing as a way of
19   exchange is to pick bellwethers, which I think it is, and we're    19 doing this more efficiently in stages makes sense. I -- I --
20   only going to focus on California with a defense fact sheet,       20 so I'm going to say yes.
21   then I would request that nonCalifornia plaintiffs don't have      21      I know there's a knowledge basis here I don't have in my
22   to do the Plaintiff Fact Sheet.                                    22 head right now, but I do think that would be a useful way of
23            THE COURT: We're not going to go back and revisit         23 structuring this. And --
24   whether -- all the plaintiffs have to do the fact sheet, okay.     24          THE COURT: So can this be -- can we -- could we
25   And my question for you is not whether we should go back and       25 agree, at this point, that -- or could we walk away at this


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 1   point sort of agreeing that we have come up with a concept or        1   already asked for this information in an interrogatory about
 2   agree that I'm forcing upon you a concept that, you know,            2   two weeks ago.
 3   for -- that there is going to be this comprehensive response         3            MR. LASKER: Well, yeah.
 4   from Monsanto on these topics that gives the plaintiffs the          4            MS. WAGSTAFF: Or a week ago.
 5   ability to figure out what products the plaintiffs were exposed      5            MR. LASKER: So, two things. First of all, I'm
 6   to and advertising and labeling and sales reps and all that          6   assuming we'll have the information for Mr. Hardeman to be able
 7   stuff maybe for California, and then have you all work together      7   to answer it.
 8   on precisely what format that's going to take and discuss it at      8        I would say that we should be able to get that in, I would
 9   the next case management conference, which we're having, I           9   think, for the -- I'm going to put the advertising to one side
10   think, in early December? Does that make sense?                     10   for a moment. For the rest of it, I would think within a
11        And in the meantime you can kind of pilot it, if you will,     11   couple of weeks we should be able to get -- at least, I'm
12   with these three and possibly four plaintiffs who are in            12   saying that because I don't -- so I'd say two weeks from this
13   Group 1.                                                            13   Friday.
14            MR. LASKER: That's fine. Just for clarification,           14        For the advertising, these are all going to be, as I
15   this deadline for Wednesday and Friday would just be for the        15   understand it, residential. So there's going to be Scotts that
16   three. We only have the three Plaintiff Fact Sheets.                16   handles the marketing of that. So we'll have to talk about --
17            THE COURT: Correct, because we don't know yet if           17   I think we've already produced a lot of Scotts materials.
18   Bailey's going to be in the group.                                  18        So I'm just going to have to figure out how we're going to
19            MS. WAGSTAFF: And, Your Honor, that works for              19   identify for plaintiffs -- to the extent that that is an issue,
20   plaintiffs. You gave us a deadline of Wednesday, Friday. And        20   I don't know that it is, but if it's all residential, then --
21   then what's the deadline for Monsanto to give us the                21   we've produced documents from Scotts already.
22   information?                                                        22            THE COURT: Okay. What you're going to put
23            THE COURT: That's a good question. What's the              23   together --
24   deadline for Monsanto to give them the information?                 24            MR. LASKER: Is what those are.
25            MS. WAGSTAFF: And I'll tell you that Mr. Hardeman has      25            THE COURT: -- is here are the advertising materials
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                                                                   97                                                                   98
 1   that the plaintiffs may have been exposed to based on what we     1 get that specific formulation information until the 16th,
 2   know about where they were and what they were using and when 2 that's going to be really hard to have our experts incorporate
 3   they were using it.                                               3 that into the reports by the 20th.
 4            MR. LASKER: Right. The only reason I have any            4          THE COURT: Shall we accelerate the formulation
 5   hesitancy here is Monsanto didn't handle that. Scotts handles     5 information?
 6   that. So that's been that way since 1998. So I'm a little bit     6          MR. LASKER: Yeah, I think we can probably do that,
 7   at a disadvantage to be able to say how Scotts has got those      7 because all we're going to do that for that -- it really is as
 8   documents already.                                                8 soon as we get the actual product names. We already have it,
 9            THE COURT: Okay. Well, what the order is going to be     9 and it's searchable. As soon as we get exact names, we can do
10   is that Monsanto provide all of that information to the          10 that more quickly. It's already been produced.
11   plaintiffs by November 16th.                                     11          THE COURT: So how about the formulation information
12            MR. LASKER: Okay.                                       12 by November 9th?
13            THE COURT: Including the advertising information as 13              MR. LASKER: That's fine.
14   it relates to the three plaintiffs in Group 1. So that's an      14          THE COURT: And the remaining information by
15   order you can take back to Scott and your clients -- Scotts and  15 November 16th? Is that what I said, November 16th?
16   your clients.                                                    16          MR. BRAKE: Yes, sir.
17            MR. BRAKE: Your Honor, may I interject one moment, if 17            MR. LASKER: Yes, Your Honor.
18   I may? Our expert -- the plaintiffs' experts are due on          18          MR. BRAKE: Thank you, Your Honor.
19   November 20th. And I imagine that a lot of the information       19      Your Honor, I didn't mean to interject, but I thought that
20   that you're requiring Monsanto to produce is going to be         20 was an important point.
21   relevant to their opinions, perhaps to specific causation.       21          THE COURT: Fine. Okay.
22            MR. LASKER: I think, with respect to formulation, we 22         So is that -- have we made sufficient progress today on
23   can get it to you earlier, actually. So that's an issue of       23 the Defendant's Fact Sheet?
24   the -- what's in the product.                                    24          MS. WAGSTAFF: We have. And it's my understanding
25            MR. BRAKE: Yes. I'm just saying if we were not to       25 that the CMC statement for next time, we will include a


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 1   proposal for the California plaintiffs.                              1   Monsanto, but I don't -- I no longer remember why I have that
 2            THE COURT: Or if you determine that -- if you               2   on my notes.
 3   determine that it doesn't make sense to limit it to the              3             MR. LASKER: We are in the process and we've been
 4   California plaintiffs for whatever reason, if we should include      4   discussing with Mr. Wisner because we're coordinating through
 5   the Hawaii plaintiff, that's fine. Or the -- you know,               5   different litigations. So as I stated previously in the
 6   whatever.                                                            6   St. Louis litigation, we had through meet-and-confer agreed to
 7           MR. LASKER: Right.                                           7   ten documents. Those are documents we are producing pursuant
 8           THE COURT: But the point is that Monsanto is going to        8   to certain search terms. And we are doing that. And we
 9   need to sort of collect and provide all of this information.         9   produced, I think, 400,000 pages at the end of last month. We
10   And whether it has already included the information at              10   have four more custodians who are geared up for this month. We
11   different points in different cases or the same cases, I don't      11   have been engaged in a similar meet-and-confer process with
12   care about any of that.                                             12   Mr. Wisner, which I agree has been on for a long period of time
13            MR. LASKER: Right.                                         13   for a variety of reasons on both sides.
14            THE COURT: You just need to put that information           14        We've been moving in the right direction in fits and
15   together.                                                           15   starts, I think it's fair to say.
16            MR. LASKER: Right.                                         16        Where we are right now, as I understand it, is we've made
17            THE COURT: And that's what you were proposing as           17   a lot of progress. We have -- the real situation we have and
18   well, and so that's what you need to work on, is the format and     18   it was somewhat similar to a situation we had in phase 1, is
19   the precise content of the information and stuff, and so you        19   the issue of the number of custodians and the extent to which
20   need to work on that for the next case management conference.       20   some of those are potentially duplicative.
21            MR. LASKER: Very good, Your Honor.                         21        And as Your Honor recalled, in phase 1 of the MDL we ended
22            MS. WAGSTAFF: Thank you, Your Honor.                       22   up actually going through a process of plaintiffs proposing
23            THE COURT: Okay. Is there anything else for us to          23   certain custodians, and we walked through which custodians Your
24   discuss right now?                                                  24   Honor believed we should produce.
25        I had on my notes the issue of other discovery on              25             THE COURT: I remember that with great fondness.
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 1           MR. LASKER: And I think, Your Honor, and the hope,          1 general -- not just general causation but general liability
 2   Your Honor, is that we don't have to go through that process        2 discovery across the company.
 3   again with you. Although I'm sure you're willing to offer your      3      So it does involve causation, but it also involves
 4   services. But we have been going through that process to try        4 liability issues. For example, the AHS was never searched in
 5   and do the same thing here and, as I said, we've been making        5 these custodial files. That obviously was relevant since it
 6   progress, but we're not there yet.                                  6 was an important part of the trial.
 7        And I -- Mr. Wisner will tell you where he is now. I know      7      So what I did, I proposed this list and I said, listen,
 8   there was a conversation, I think last week, on this. I think       8 before we can talk intelligently about removing things or not,
 9   we're waiting for Mr. Wisner's responses, I think here now.         9 I need you to tell me what's causing the problem. You know, is
10           MR. WISNER: Well, Your Honor, it's not so much a           10 there some search term that's causing a crazy number of hits
11   response as much as here's where we stand. Monsanto believes       11 that we really don't need?
12   we've made a lot of progress because it's essentially been me      12      And we've run through that process. That's taken a long
13   agreeing to things for several months.                             13 time. I've systematically gone through it, and I've kind of
14        What happened is, as part of the JCP proceeding, I have       14 boiled it down to what I thought were the ones that were
15   gone through all of the search terms and all the custodians        15 hitting on the most important stuff. And that was going to
16   that were ever done. And I found some pretty big gaps in           16 yield a production of about a million new documents. Not
17   document production. Search terms that I think -- I don't          17 repeats. These are new documents hitting on what I believe are
18   think anybody would dispute would probably hit on relevant         18 fairly relevant search terms.
19   documents.                                                         19      Monsanto has told me that there is just no humanly
20        And I put together a sort of comprehensive search --          20 possible way for them to get us those documents before trial in
21   additional search of the same custodians plus a couple of extra    21 February. And I said, Okay, what is your threshold? And they
22   that we've come to know about over time. And each person I can 22 said 125,000 documents. That's reasonably what we could do.
23   actually speak to intelligently. These aren't just willy-nilly     23      So I went back again and I tried to short -- you know, I
24   decisions. And the search terms were pretty extensive. And in      24 did the hard choices and it's down to about 350. And I'm at a
25   trying to work through that in the JCP, to sort of supplement      25 place where I really don't know how much more I can negotiate


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 1   against myself on documents production.                                1            THE COURT: But you need to tee it up as a discovery
 2        And so that's why I wanted to bring it to the Court's             2   dispute and articulate in your letter why it is that these new
 3   attention, because last time we sort of reached this impasse           3   documents are documents that are likely to be important. And,
 4   you said, well, make it happen. And then they made it happen           4   you know, you need -- Monsanto needs to articulate why they're
 5   in the original production.                                            5   not likely to be important or why it would be too difficult to
 6        And so I don't know if I'm sort of haphazardly doing that         6   produce them.
 7   here, but I sort of am. And so that's the situation I'm in.            7        And it sounds like, based on what you're saying, you
 8   And I'm in a bit of a bind because I do want to complete this          8   should tee that up sooner rather than later.
 9   document production before the first trial.                            9            MR. WISNER: Yeah.
10        And I'm sort of the document sleuth as part of this              10            THE COURT: And so why don't you tee it up, why don't
11   litigation, so it's really something that's important, I think,       11   you all submit a discovery letter by Friday.
12   for trial. It's really what the Johnson case was about, was           12            MR. WISNER: Not a problem, Your Honor.
13   about the documents and testimony.                                    13            MR. LASKER: That's fine, Your Honor.
14        So that's where we're at. And I don't really know what to        14            THE COURT: Okay.
15   do beyond, say, you know, I've tightened my belt as much as I         15            MR. LASKER: And as part of that same process, put
16   think I can.                                                          16   that in the same discovery letter, we have --
17            THE COURT: So it sounds like, at least from your             17            THE COURT: I mean, unless you feel you've adequately
18   standpoint, what you're saying is we are at the point where we        18   set forth the issue in the case management statement, and I'm
19   have a ripe discovery dispute.                                        19   just not remembering.
20            MR. WISNER: That's correct.                                  20            MR. LASKER: I don't think we have, Your Honor. I
21            THE COURT: That we have -- that Monsanto is saying           21   think you're right on that.
22   this is not doable and you are saying, I need it to be done.          22            THE COURT: Okay.
23   And you need to articulate why it is that you need it. You've         23            MR. LASKER: The other issue -- and we can tee this up
24   done it a little bit in your case management statement.               24   in the discovery letter as well -- is we have been receiving
25            MR. WISNER: Sure.                                            25   separate document requests by plaintiff that are general.
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 1        They're not -- I mean, certainly not as opposed to         1
 2   documents that are specific to Mr. Hardeman or documents that   2
 3   are specific to Mr. Stevick.                                    3                      CERTIFICATE OF REPORTER
 4        But we received general documents. Last time some were     4      I certify that the foregoing is a correct transcript
 5   received before, some of which are overlapping. We would want   5 from the record of proceedings in the above-entitled matter.
 6   to be able to get discovery, sufficiently have this all         6
 7   coordinated so we can talk --                                   7 DATE: Wednesday, October 31, 2018
 8           THE COURT: Are these plaintiffs represented by people   8
 9   in leadership?                                                  9
10            MR. LASKER: This is for Mr. Hardeman and Stevick. 10
11   These are the case -- I think it's those two cases.            11         ______________________________________________

12            THE COURT: Okay.                                      12         Katherine Powell Sullivan, CSR #5812, RMR, CRR
                                                                                              U.S. Court Reporter
13            MR. LASKER: So we can include that in the same        13
14   discovery dispute, so Your Honor can address that as well.     14
15            THE COURT: Okay.                                      15
16            MR. LASKER: Thank you, Your Honor.                    16
17            THE COURT: Great. Anything else anybody needs to 17
18   discuss right now before we say good-bye?                      18
19        No? All right.                                            19
20            MR. LASKER: Thank you, Your Honor.                    20
21            THE COURT: Thank you.                                 21
22        (Counsel thank the Court.)                                22
23        (At 4:54 p.m. the proceedings were adjourned.)            23
24                             - - - -                              24
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